Filed 10/03/19                                                                  Case 19-14190                                                                      Doc 1

     United States Bankruptcy Court for the:

                            EASTERN
                                                                                                                    HLED
                                                 of    CALIFORNIA

     Case number ir known):     I 1T4DisP-,                            Lhapter you are filing under:
                                                                       LChapter 7
                                                                                                                  OCT 03 2019
                                                                        U Chapter 11                   UNITED STATES BANKRUPTCY COURT
                                                                        U Chapter 12                    EASTERN D ThlCTOF LI        eLr(
                                                                       {]Chapter13                                                             If this is an
                                                                                                       :                               amended filing


                                                                                                                        IO 5(ocrr
    Official Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12117

   The bankruptcy forms use you and Debtor Ito refer to a debtor filing atone. A married couple may file a bankruptcy case together—called a
   joint case—and in joint cases, these forms use you to ask for Information from both debtors. For example, if a form asks, "Do you own a car,"
   the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor I and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as Debtor I and the other as Debtor 2. The
   same person must be Debtor 'fin all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    informatIon. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, wrIte your name and case number
    (if known). Answer every question.


   •fl            Identify Yourself

                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only In a Joint Case):
    i. Your full name
         Write the name that is on your   Kisty
         govemment-issued picture
         identification (for example,     First name                                                       First name                                              -



         your driver's license or
         passport).                       Middle name                                                      Middle name
                                          Holly-ray
         Bring your picture
         identification to your meeting   Last name                                                        Last name
         with the trustee.
                                          Suffix (Sr.. Jr., II, Ill)                                       Suffix (Sr., Jr., H, Ill)




         All other names you
         have used in the last 8          First name                                                       First name
         years
         Include your married or          Middle name                                                      Middle name
         maiden names.
                                          Last name                                                        Last name


                        -                 First name                                                       First name

                                          Middle name                                                      Middle name

                                          Last name                                                        Last name




         Only the last 4 digits of
                                          XXX      -    XX    —3242               -                        xxx — xx —                      -     -
         your Social Security
         number or federal                OR                                                               OR
         Individual Taxpayer
         Identification number            9   XX XX            --            -      -      -               9 XX     -    XX            -   -      -



         (ITIN)


    Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
Filed 10/03/19                                                               Case 19-14190                                                                                      Doc 1
   Debtor 1       Kristy                           Holly-ray                                              Case number (ffkswwn)___________________________________
                  First Name   Middle Name               Last Name




                                             About Debtor 1:                                                   About Debtor 2 (Spouse Only In a Joint Case):


   4.    Any business names
         and Employer                        id    I have not used any business names or EiNs.                 U      I have not used any business names or ElNs.
         Identification Numbers
         (E1N) you have used in
         the last 8 years                    Business name                                                     Business name

         Include trade names and
         doing business as names
                                             Business name                                                     Business name                                                -



                                             EIN                                                               EIN


                                             EIN                                                               EIN




    s. Where you live                                                                                          if Debtor 2 lives at a different address:



                                             1923 N Armstrong Ave
                                             Number         Street                                             Number          Street




                                             Fresno                                   CA        93727
                                             City                                    State     ZIP Code        City                                      State       ZIP Code

                                             Fresno
                                             County                                                            County

                                             If your mailing address is different from the one                 If Debtor 2's mailing address Is different from
                                             above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                             any notices to you at this mailing address.                       any notices to this mailing address.


                                             1923 N Armstrong Ave
                                             Number         Street                                             Number           Street                           -


                                             P.O. Box                                                          P.O. Box

                                             Fresno CA                                       93727
                                             City                                    State     ZIP Code        City                                      State       ZIP Code




    6.   Why you are choosing                Check one:                                                        Check one:
         this district to file for
         bankruptcy                                Over the last 180 days before filing this petition.         id Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                   other district.                                                    other district.

                                             U     I have another reason. Explain.                             U      I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




    Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
Filed 10/03/19                                                              Case 19-14190                                                                                  Doc 1
    Debtor I      Knsty                             Holly-ray                                           Casenumber(irkn1wn)                                           -
                  Feel Name   Meldie Name                 Last Name




                Tell the Court About Your Bankruptcy Case


          The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
          Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropnate box.
          are choosing to file
                                            [ Chapter 7
          under
                                                U   Chapter 11
                                                U   Chapter 12
                                            [Chapter 13


          How you will pay the fee          [       I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                    local court for more details about how you may pay. Typically, if you are paying the fee
                                                    yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                    submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                    with a pre-printed address.

                                                U   I need to pay the fee in installments. If you choose this option, sign and attach the
                                                    Application for Individuals to Pay The Filing Fee in Installments (Official Form I 03A).

                                                    l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                    By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                    less than 150% of the official poverty line that applies to your family size and you are unable to
                                                    pay the fee in installments). If you choose this option, you must fill Out the Application to Have the
                                                    Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



          Have you filed for                1NO
          bankruptcy within the
          last 8 years?                     I     [yes.   District                             When
                                                                                                       MM! DD/YYYY
                                                                                                                               Case number


                                                          District                             When                            Case number
                                                                                                       MMI DDIYYYY

                                                          District                             When                            Case number
                                                                                                       MM! DDIYYYY



    io. Are any bankruptcy                          No
        cases pending or being
        filed by a spouse who is            JQYes. Debtor                                                                      Relationship to you
        not filing this case with                         District                             When                            Case number, if known____________________
        you, or by a business                                                                          IVIIVI I ULJ I   VVII

        partner, or by an
        affiliate?
                                                          Debtor                                                               Relationship to you

                                                          District                             When                            Case number, if known___________________
                                                                                                       MM I DD / YVYY



    11.   Do you rent your                  INo.   Go to line 12.
          residence?                        fes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                   residence?

                                                          FNo. Go to hne 12.
                                                          [UlYes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                              this bankruptcy petition.



    Official Form 101                                     Voluntary Petition for individuals Filing for Bankruptcy                                       page 3
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    Debtor 1       Kristy                             Holly-ray                                              Case number    If
                  First Name        Middle Name             Last Name




   •R1IU        Report About Any Businesses You Own as a Sole Proprietor


        Are you a sole proprietor                 Jrsio. Go to Part 4.
        of any full- or part-time
        business?                             Ii     Yes. Name and location of business
        A sole proprietorship is a
        business you operate as an
                                                           Name of business, if any
        individual, and is not a
        separate legal entity such as
        a corporation, partnership, or
                                                           Number        Street
        LLC.
        If you have more than one
        sole proprietorship, use a
        separate sheet and attach it
        to this petition.
                                                            City                                                    State        ZIP Code


                                                           Check the appropriate box to describe your business:
                                                          (jHeaIth Care Business (as defined in 11 U.S.C. § 101 (27A))

                                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))

                                                          Jaj Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          [j Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                          Jj None of the above
        Are you tiling under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
        Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
        Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 11 16(i)(B).
        are you a small business
        debtoi?
                                                      No. I am not filing under Chapter 11.
        For a definition of small
        business debtor, see                      U No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
        11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                  U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                           Bankruptcy Code.



   M            Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


        Do you own or have any                    0 No
        property that poses or Is
        alleged to pose a threat                   U Yes. What is the hazard?
        of imminent and
        identifiable hazard to
        public health or safety?
        Or do you own any
        property that needs
                                                            If immediate attention is needed, why is it needed?
        immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                            Where is the property?
                                                                                      Number        Street




                                                                                      City                                           State     ZIP Code -


    Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
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   Debtor 1         Kristy                           Holly-ray                                                 Case number
                   First Name      Middle Name              last Name




  •i             Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                 About Debtor 1:                                                    About Debtor 2 (Spouse Only In a Joint Case):
   is.   Tell the court whether
         you have received a
         briefing about credit                   You must check one:                                                 You must check one:
         counseling.
                                                     I received a briefing from an approved credit                  0 I received a briefing from an approved credit
                                                     counseling agency within the 180 days before I                      counseling agency within the 180 days before I
         The law requires that you                   filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
         receive a briefing about credit             certificate of completion.                                          certificate of completion.
         counseling before you file for
                                                     Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
         bankruptcy. You must
                                                     plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
         truthfully check one of the
         following choices. If you
         cannot do so, you are not
                                                 U   1 received a briefing from an approved credit                   U I received a briefing from an approved credit
                                                     counseling agency within the 180 days before I                      counseling agency within the 180 days before I
         eligible to file.
                                                     filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                                     certificate of completion,                                          certificate of completion.
         If you file anyway, the court
                                                     Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
         can dismiss your case, you
                                                     you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
         will lose whatever filing fee
                                                     plan, if any.                                                       plan, if any.
         you paid, and your creditors
         can begin collection activities         U   I certify that I asked for credit counseling                    U   I certify that I asked for credit counseling
         again.                                      services from an approved agency, but was                           services from an approved agency, but was
                                                     unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                     days after I made my request, and exigent                           days after I made my request, and exigent
                                                     circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                     of the requirement,                                                 of the requirement.
                                                     To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                     requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                     what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                     you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                     bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                     required you to file this case.                                     required you to file this case.
                                                     Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                     dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                     briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                     If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                     still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                                     You must file a certificate from the approved                       You must file a certificate from the approved
                                                     agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                     developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                     may be dismissed.                                                   may be dismissed.
                                                     Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                     only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                     days.                                                               days.

                                                 U I am not required to receive a briefing about                     U I am not required to receive a briefing about
                                                     credit counseling because of:                                       credit counseling because of:

                                                     U incapacity.      I have a mental illness or a mental              U   Incapacity. I have a mental illness or a mental
                                                                        deficiency that makes me                                           deficiency that makes me
                                                                        incapable of realizing or making                                   incapable of realizing or making
                                                                        rational decisions about finances.                                 rational decisions about finances.
                                                     U   Disability. My physical disability causes me                    U   Disability. My physical disability causes me
                                                                      to be unable to participate in a                                    to be unable to participate in a
                                                                      briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                      through the internet, even after I                                  through the internet, even after I
                                                                      reasonably tried to do so.                                          reasonably tried to do so.
                                                     U Active duty. I am currently on active military                    U   Active duty. I am currently on active military
                                                                        duty in a military combat zone.                                     duty in a military combat zone.
                                                     If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                     briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                     motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court




   Official Form 101                                       Voluntary Petition for Individuals Filing fo, Bankruptcy                                          page 5
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    Debtor 1      Kristy                          Holly-ray                                                      Case number   (if knom)___________________________________
                  Fcst Name    Mdde Name                    I.ast Name




               Answer These Questions for Reporting Purposes

                                               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16. What kind of debts do                       as incurred by an individual primarily for a personal, family, or household purpose."
        you have?
                                                   FNO. Go to line 16b.
                                                   Wj
                                                   [                Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.
                                                           No. Go to line 16c.
                                                   1-1
                                                           Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.



        Are you filing under
        Chapter 7?                         INo. I am not filing under Chapter 7. Go to line 18.

        Do you estimate that afterYes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
        any exempt property is         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        excluded and                  [No
        administrative expenses
        are paid that funds will be    U Yes
        available for distribution
        to unsecured creditors?

        How many creditors do              [1-49                                              [41,000-5,000                             LI
                                                                                                                                       [25,001-50,000
        you estimate that you              j5099                                              [Q5,001-1o,000                           [Uj5o,00i-iOo,000
        owe?                                      ioo-igg                                     pjlO,00i -25,000                         [UMore than 100.000


        How much do you                    [     1 $0 $50,000
                                                       -                                      F$i,000,00i-sio million                   U    $500,000,001-$i billion
        estimate your assets to            iUsso,00i-sioo,000                                 i$10,000,001-$50 million                  U    $1,000,000,001-$10 billion
        be worth?                                I$i00,00i $500,000
                                                                -                               T50,000,001 $100 million
                                                                                                             -                          U    $10,000,000,001450 billion
                                           P$500,00141 million                                f$100,000,001-$500 million                U    More than $50 billion

        How much do you                    F
                                           LI $o-sso,000                                      I$1,00o.001-$10 million                   U    $500.000.001-$i billion
        estimate your liabilities             $50,0014100,000                                 I:$10,000,001-$50 million                 U    $1,000,000,001-$10 billion
        to be?                             [J$i00 0014500 000                                     $50,000,001-$1O0 million              U    $10,000,000,001-$50 billion
                                           [U$500,001$i million                               l$100,0O0,00i -$500 million               U    More than $50 billion
   •flI        Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                cect.
                                           If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title Ii, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                               I request relief in accordance with the chapter of title ii, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                   ~       ature             btor I                                     Signature of Debtor 2

                                                  Executed on                     t,5                                   Executed on
                                                                         M       I DD /YYYY                                            MM I DD      /YYYY


    Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 6
Filed 10/03/19                                                                      Case 19-14190                                                                         Doc 1
    Debtor I       Knsty                           Holly-ray                                                  Case number (if
                  First Name    Mif die Name               Last Name



   c-----._                                    -                            -               -                                                                        -



                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one                  available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)

    If you are not represented
                                               the notice required by 11U.S.C.
                                               knowledge er an in
                                                                                      § 3(b)ormand,ioninina case in which § 707(b)(4)(D) applies, certify
                                                                                                            the schedul filed with the petition is
                                                                                                                    es
                                                                                                                                                         that I have no
                                                                                                                                                 incorrect.
    by an attorney, you do not
    need to file this page.
                                               X               _____ 41                                                  Date
                                                   Sign
                                                          lr   ~

                                                               of Atto mey for De                                                     MM     I   OD IYYYY



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                                                   Printed name
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                                                           7-~ e FoNanC L A IJ 67K(D ~ r
                                                   Firm name

                                                                       ffoo('V                     2(1f1            $1;+e                ?ôØ


                                                                                                                         (13
                                                   City                                                                  State        ZIP Code




                                                   Contact phone                                                  Email address



                                                      (73
                                                   Bar number                                                            State
                                                                                                                                         41F




    Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                         page 7
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   Debtor 1       Kristy                    Holly-ray                                              Case number iwn)______________________________
                 First Name   Middle Name            Last Name




    For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
    bankruptcy without an                   should understand that many people find it extremely difficult to represent
    attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
    If you are represented by
    an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
    need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                            U     No
                                                   es

                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                            U     No
                                                   es

                                            Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            UNo
                                            U     Yes. Name of Person
                                                        Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorney ay cause me to lose my rights or property if I do not properly handle the case.


                                            __________________

                                                Sign ure of De r 1                                          Signature of Debtor 2

                                            Date                 t.iq   A3 Xf'L
                                                                 MM/DtJ /YYYY
                                                                                                            Date
                                                                                                                             MM! DD/YYYY

                                            Contact phone        5593601940                                 Contact phone

                                            Cell phone                                                      Cell phone

                                            Email address                                                   Email address

        -.                                  -           -..----------------____                                    ..-

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                                                             Certificate Number: 1 3858-CAE-CC-033465499

                                                                           ID I I II I IIIIIMI III I IIIFI II II
                                                                            13858-CAE-CC-033465499




                                  CERTIFICATE OF COUNSELING


             I CERTIFY that on September 25, 2019, at 4:19 o'clock PM PDT, Kristy Holly-
             Ra.y received from MoneySharp Credit Counseling Inc., an agency approved
             pursuant to 11 U.S.C. 111 to provide credit counseling in the Eastern District of
             California, an individual [or group] briefing that complied with the provisions of
             11 U.S.C. 109(h) and 111.
             A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
             copy of the debt repayment plan is attached to this certificate.
             This counseling session was conducted by internet.




                 Date: September 25, 2019                    By:      Is/Victor Reyes


                                                             Name: Victor Reyes


                                                             Title: Counselor




             * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
             Code are required to file with the United States Bankruptcy Court a completed certificate of
             counseling from the nonprofit budget and credit counseling agency that provided the individual
             the counseling services and a copy of the debt repayment plan, if any, developed through the
             credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
     201A (Form 201A) 01/1
Filed 10/03/19                                        Case 19-14190                                                          Doc 1


                               UNITED STATES BANKRUPTCY COURT

                        NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                 OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
  debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
  purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
  about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
  connection with a bankruptcy case.

          You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
  the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
  employees cannot give you legal advice.

           Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
  order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
  you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
  individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
  and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
  addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
  all notices.

      Services Available from Credit Counseling A2encies

          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
  for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
  for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
  within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
  briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
  counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
  court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
  case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
  management instructional course before he or she can receive a discharge. The clerk also has a list of approved
  financial management instructional courses. Each debtor in a joint case must complete the course.

     The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
           Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
  debts. Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine
  whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
  for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
  trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
  Code. It is up to the court to decide whether the case should be dismissed.
           Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
  have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
  pay your creditors.
           The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
  found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
           Form B 201A, Notice to Consumer Debtor(s)
Filed 10/03/19                                 Case 19-14190                                                  Page 2             Doc 1
  your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
  you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
  support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
  certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
  by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
  that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
  court may determine that the debt is not discharged.

          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
  fee, $46 administrative fee: Total fee $281)
          Chapter 13 is designed for individuals with regular income who would like to pay all or part of
  their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
  certain dollar amounts set forth in the Bankruptcy Code.
          Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
  owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
  five years, depending upon your income and other factors. The court must approve your plan before it can take
  effect.
          After completing the payments under your plan, your debts are generally discharged except for domestic
  support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
  which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
  and certain long term secured obligations.

          Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
  provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
  with an attorney.

          Chapter 12: Family Fanner or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
  future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
  whose income arises primarily from a family-owned farm or commercial fishing operation.

  3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
  of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
  both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
  Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
  and other components and employees of the Department of Justice.

  WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
  creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
  this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
  the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
  http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
  B 20113 (Form 2018) (12/09)
Filed 10/03/19                                                  Case 19-14190                                                                     Doc 1
                                    UNITED STATES BANKRUPTCY COURT
                                                                                     CALIFORNIA
                                                      EASTERN District Of

  in re
          Holly ray, Knsty
                  -

                                                                                       Case No.
                                 Debtor
                                                                                                   7
                                                                                       Chapter    -




                                CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                    UNDER § 342(b) OF THE BANKRUPTCY CODE


                                     Certification of [Non-Attorney] Bankruptcy Petition Preparer
           I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor the
  attached notice, as required by § 342(b) of the Bankruptcy Code.


  Printed name and title, if any, of Bankruptcy Petition Preparer                      Social Security number (If the bankruptcy petition
  Address:                                                                             preparer is not an individual, state the Social Security
                                                                                       number of the officer, principal, responsible person, or
                                                                                       partner of the bankruptcy petition preparer.) (Required
                                                                                       by 11 U.S.C. § 110.)

  Signature of Bankruptcy Petition Preparer or officer,
  principal, responsible person, or partner whose Social
  Security number is provided above.



                                                           Certification of the Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
  Code

   ry                      Ati              ~'rSZV            cit/           Xc6
                                                                                                   ~   4Ail               V~         ).


                                                                             Signatu                                          Date

  Case No. (if known)
                                                                              Signature of Joint Debtor (if any)              Date




  Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

  Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
  NOT been made on the Voluntary Petition, Official Form B 1. Exhibit B on page 2 of Form B 1 contains a certification by the
  debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
  petition preparers on page 3 of Form B 1 also include this certification.
Filed 10/03/19                                                                                Case 19-14190                                                                                                 Doc 1


     Debtor 1            Kristy                                                          Holly-ray
                          First Name                        Middle Name                      Last Name

     Debtor 2
     (Spouse, if filing) First Name                         Middle Name                      last Name


     United States Bankruptcy Court for the:            EASTERN District of CALIFORNIA
     Case number                                                                                                                                                                        Check if this is an
                          (If known)                                                                                                                                                    amended filing



   Official Form 106Surn
   Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                       12/15

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. Fill out all of your schedules first; then comptete the information on this form. If you are filing amended schedules after you file
   your original forms, you must fill out a new Summary and check the box at the top of this page.


                     Summarize Your Assets


                                                                                                                                                                                Your assets
                                                                                                                                                                                Value of what you own
    1. Schedule A/B: Property             (Official Form 1 U6AJB)
        Ia.    Copy line 55, Total real estate, from Schedule A/B ............................................................................................ ..............       $ 218000


        lb.    Copy line 62, Total personal property, from Schedule A/B .... ........ .... ...............................................................................          $   5275


        1 c.   Copy line 63, Total of all property on Schedule A/B ......................................................................................................... .$
                                                                                                                                                                                        223275


                     Summarize Your Liabilities



                                                                                                                                                                                 Your liabilities
                                                                                                                                                                                Amount you owe
    2. Schedule D. Creditors Who Have Claims Secured by Property                               (Official Form 1 06D)
        2a.    Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of ScheduleD ....... .....$                                             0


    3. Schedule E/F: Creditors Who Have Unsecured Claims                            (Official Form 1 06E/F)
               Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF............................................$ _6

               Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6i of Schedule ElF ...................................... .
                                                                                                                                                                                + $ 259829


                                                                                                                                                Your total liabilities              $ 301005



                     Summarize Your Income and Expenses


    4. Schedule I. Your Income              (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I..........................................................................................$                          1610


    5. Schedule J. Your Expenses ( Official Form 1 06J)
       Copy your monthly expenses from line 22c of Schedule J....................................................................................................$                       3091
Filed 10/03/19                                                                    Case 19-14190                                                           Doc 1
      Debtor I               Kristy                        Holly-ray                                        Case number
                             First Name   Middle Name               Last Name




                            Answer These Questions for Administrative and Statistical Records


              Are you filing for bankruptcy under Chapters 7, 11, or 13?

          _LLNo. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          El           es


              What kind of debt do you have?

                1Your debts are primarily consumer debts. Consumer debts are those "incurred by an indMdual primarily for a personal,
                 family, or household purpose." 11 U.S.C. § 101(8). Fill outlines 8-9g for statistical purposes. 28 U.S.C. § 159.

              iTJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
                 this form to the court with your other schedules.



              From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
              Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $0




              Copy the following special categories of claims from Part 4, line 6 of Schedule E/F


                                                                                                                         Total claim


                From Part 4 on Schedule &F copy the following:



                  Domestic support obligations (Copy line 6a.)                                                           $ 0


                  Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $_0


                 Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                         $   0



                  Student loans. (Copy line 6f.)                                                                         $_0


                  Obligations arising out of a separation agreement or divorce that you did not report as                    ft
                                                                                                                         $
                  priority claims. (Copy line 6g.)


                  Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)               + $_0



                  Total. Add lines 9a through 9f.                                                                        $   0




 f'Nf,.,.,I    .,rn,                           ,,.4 V...... Aww..Cw ......1 1   .,m.l    Q4..êtw4t...,I I.,f..,..ê...,                              ,.,
Filed 10/03/19                                                                               Case 19-14190                                                                          Doc 1


    Debtor 1            Kristy                                                       Holly-ray
                        Fast Name                    Middle Name                          Last Name

    Debtor 2
    (Spouse, if filing) Fast Name                    Middle Name                           Last Name


    United States Bankwptcy Court for the:       EASTERN           District of    CALIFORNIA

    Case number
                                                                                                                                                             U   Check if this is an
                                                                                                                                                                 amended filing

    Official Form 1 06A/B
    Schedule A/B: Property                                                                                                                                                  12115
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every question.


  •T               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

   1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

             No. Go to Part 2.
             Yes. Where is the property?
                                                                                  What is the property? Check all that apply.
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                  lid    Single-family home                         the amount of any secured claims on Schedule D:
          1.1.    Real Estate My Home                                             U      Duplex or multi-unit building
                                                                                                                                    Creditors Who Have Claims Secwed by Property.
                 Street address, if available, or other description
                                                                                  U      Condominium or cooperative                 Current value of the Current value of the
                 Loc: My Residence In Fresno Ca.                                  U      Manufactured or mobile home                entire property? portion you own?
                                                                                  U      Land                                       $_218000                     $_218000
                                                                                  U      Investment property

                 City                            State      ZIP Code
                                                                                  U      Timeshare                                  Describe the nature of your ownership
                                                                                                                                    interest (such as fee simple, tenancy by
                                                                                  U      Other
                                                                                                                                    the entireties, or a life estate), if known.
                                                                                  Who has an interest in the property? Check one.
                                                                                                                                    Fee Simple
                                                                                  id Debtor I only
                 County                                                           U Debtor 2 only
                                                                                  U Debtor I and Debtor 2 only                      U Check if this is community property
                                                                                                                                        (see instructions)
                                                                                  U At least one of the debtors and another
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number: My Re'eidmnee In Frasena ('a
        If you own or have more than one, list here:
                                                                             What is the property? Check all that apply.
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                           U            Single-family home                          the amount of any secured claims on Schedule D.
                                                                                                                                    Creditors Who Have Claims Secured by Property.
          1.2.
                 Street address, it available, or other description
                                                                           U            Duplex or multi-unit building
                                                                           U            Condominium or cooperative                  Current value of the         Current value of the
                                                                           U            Manufactured or mobile home                 entire property?             portion you own?
                                                                                 ULand                                              $__________ $__________
                                                                                 U      Investment property
                                                                                 U      Timeshare                                   Describe the nature of your ownership
                 City                            State      ZIP Code                                                                interest (such as fee simple, tenancy by
                                                                                 U      Other                                       the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one.
                                                                                 U Debtor I only
                 County                                                          U Debtor 2 only
                                                                                 U Debtor I and Debtor 2 only                       U   Check if this is community property
                                                                                 U At least one of the debtors and another              (see instructions)

                                                                             Other information you wish to add about this Item, such as local
                                                                             property identification number:
              Kristy                                       Holly-ray
FiledDebtor
      10/03/19
            1
              Fitsl         NamS         Mdte Name               Last Name
                                                                                        Case 19-14190             Case number   ow,,________________________________          Doc 1


                                                                             What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                             U   Single-family home                              the amount of any secured claims on Schedule D:
          1.3.                                                                                                                   Creditors Who Have Claims Secured by Property.
                   Street address, if available, or other description        U   Duplex or multi-unit building
                                                                             U   Condominium or cooperative                      Current value of the Current value of the
                                                                                                                                 entire property?      portion you own?
                                                                             U   Manufactured or mobile home
                                                                             U   Land                                                                     $
                                                                             U   Investment property
                   City                            State      ZIP Code       U   Timeshare                                       Describe the nature of your ownership
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                             U   Other                                           the entireties, or a life estate), if known.

                                                                             Who has an interest in the property? Check one
                                                                             U Debtor I only
                   County
                                                                             U Debtor 2 only
                                                                             U Debtor 1 and Debtor 2 only                        U   Check if this is community property
                                                                                                                                     (see instructions)
                                                                             U At least one of the debtors and another
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:


      Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                    $_218000
      you have attached for Part 1. Write that number here. ......................................................................................   4




  •trni             Describe Your Vehicles



   Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
   you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executoiy Contracts and Unexpired Leases.


      Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
              No
          jYes


       3.1.        Make:                                                     Who has an interest in the property? Check one.     Do not deduct secured claims or exemptIons. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
                   Model:                                                    10 Debtor 1 only
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                             U Debtor 2 only
                   Year:                                                                                                         Current value of the Current value of the
                                                                             U Debtor 1 and Debtor 2 only
                   Approximate mileage:                                                                                          entire property?      portion you own?
                                                                             U At least one of the debtors and another
                   Other information:
                                                                                                                                 $1000                     $1000
                   Mercedes 2009 Doesn't Run                                 U Check if this is community property (see
                                                                                 instructions)



      If you own or have more than one, describe here:

                 Make:                                                       Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
       3.2.
                                                                                                                                 the amount of any secured claims on Schedule 0:
                 Model:                                                      id Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
                                                                             U Debtor 2 only
                 Year:                                                                                                           Current value of the Current value of the
                                                                             U Debtor 1 and Debtor 2 only
                                                                                                                                 entire property?      portion you own?
                 Approximate mileage:                                        U At least one of the debtors and another
                 Other information:
                                                                                                                                   200                     $200
                   Audi 2001 Not Working                                     U Check if this is community property (see
                                                                                 instructions)
                        Kristy                              Holly-ray
FiledDebtor
       10/03/19
            1
              First Name                  Mife Name                  Last Name
                                                                                              Case 19-14190                         Case number       (if
                                                                                                                                                                                                        Doc 1



        3.3. Make:                                                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
                                                                                                                                                            the amount of any secured claims on Schedule D:
                Model:                                                           fDebtor 1 only
                                                                                                                                                            Creditors Who Have Claims Secured by Properly.

                Year:                                                            1      Debtor 2 only
                                                                                        Debtor 1 and Debtor 2 only                                          Current value of the Current value of the
                Approximate mileage:                                                                                                                        entire property?      portion you own?
                                                                                 IkAt least one of the debtors and another
                Other information:
                                                                                     U Check if this is community property (see                             $_1900                             $_1900
                 Chevy Truck My Farm Work
                                                                                        instructions)
                 Truck

        34 Make:                                                                     Who has an interest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
                                                                                                                                                            the amount of any secured claims on Schedule D.
                Model:                                                                  Debtor 1 only
                                                                                                                                                            Creditors Who Have Claims Secured by Properly.
                                                                                        Debtor 2 only
                Year:                                                                                                                                       Current value of the Current value of the
                                                                                        Debtor 1 and Debtor 2 only
                Approximate mileage:                                                                                                                        entire property?      portion you own?
                                                                                 I U.
                                                                                   U,' At least one of the debtors and another
                Other information:
                                                                                     U Check if this is community property (see
                                                                                        instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       {No

       19 Yes
           ,1




        4.1.    Make:                               N/a                          Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
                                                                                                                                                            the amount of any secured claims on Schedule D.
                Model:                              N/a                           U     Debtor 1 only
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                       1994                                             Debtor 2 only
                Year:
                                                                                     U Debtor 1 and Debtor 2 only                                           Current value of the Current value of the
                Other information:                                                   U At least one of the debtors and another                              entire property?      portion you own?
                 Motor Home 1994 Not Working
                                                                                     U Check if this is community property (see                             $_100                              $_100
                                                                                        instructions)



        If you own or have more than one, list here:

        4.2.    Make:                                                            Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
                                                                                                                                                            the amount of any secured claims on Schedule D.
                Model:                                                               U Debtor 1 only                                                        Creditors Who Have Claims Secured by Properly.
                                                                                     U Debtor 2 only
                Year:                                                                                                                                       Current value of the Current value of the
                                                                                     U Debtor 1 and Debtor 2 only                                           entire property?
                Other information:                                                                                                                                                portion you own?
                                                                                     U At least one of the debtors and another

                                                                                     U Check if this is community property (see                             $
                                                                                        instructions)




    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                           L
                                                                                                                                                                                           _3200
       you have attached for Part 2. Write that number here . ................................................................. .......................................................'
                                                                                                                                                                                           I
              Kristy                                      Holly-ray
FiledDebtor
       10/03/19
            I
              First Name                     MdFe Name           Last Name
                                                                                        Case 19-14190                     Case number tñ'know,t___________________________________   Doc 1


  •TI               Describe Your Personal and Household Items

                                                                                                                                                            Current value of the
    Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                            or exemptions.
         Household goods and furnishings
         Examples: Major appliances, furniture, linens, china, kitchenware
         1No
         { Yes. Describe.........            Furniture - My Home                                                                                             $ 500


         Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                        collections; electronic devices including cell phones, cameras, media players, games
               No
         P31 Yes. Describe..........                                                                                                                          $

    B.   Collectibles of value
          Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
               No
               Yes. Describe..........
                                                                                                                                                              $

         Equipment for sports and hobbies
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                        and kayaks; carpentry tools; musical instruments
               No
               Yes. Describe ... .......


         Firearms
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         10— No
               Yes. Describe..........                                                                                                                        $

         Clothes
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         FNo
               Yes. Describe .......... . Clothing       - My Home                                                                                            $_400

    12.Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                    gold, silver

         FLJNo
         [Yes. Describe. ..........          Jewelry - My Home                                                                                               $_25
         Non-farm animals
          Examples: Dogs, cats, birds, horses

               No
               Yes. Describe


         Any other personal and household items you did not already list, including any health aids you did not list

               No
               Yes. Give specific
                                                                                                                                                             $___________________
               information. ........ .....

          Add the dollar value of all of your entries from Part 3, including any entries for pages you have aftached
                                                                                                                                                             $        1075
          for Part 3. Write that number here ........................................................................................................   4
               Kristy                                                    Holly-ray
FiledDebtor
       10/03/19
            I
                 Name  First                     MNale Name                         Last Name
                                                                                                                      Case 19-14190                                     Case number (if krmwn)______________________________________               Doc 1


                 Describe Your Financial Assets


    Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                          portion you own?
                                                                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                                                                          or exemptions.

    16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      FZNo
      FYes       ................................................... . ............. ............................................................................................ ...
                                                                                                                                                                                        Cash   ........................
                                                                                                                                                                                                                           $________________



    IT Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. It you have multiple accounts with the same institution, list each.

           No
          Yes    .......... ...........                                                                  Institution name:


                                                  17.1. Checking account:

                                                  17.2. Checking account:                                                                                                                                                  $

                                                  17.3. Savings account:                                                                                                                                                   $
                                                  17.4. Savings account:

                                                  17.5. Certificates of deposit:
                                                                                                                                                                                                                           $
                                                  17.6. Other financial account:

                                                  17.7. Other financial account:
                                                                                                                                                                                                                           $
                                                  17.8. Other financial account:

                                                  17.9. Other financial account:
                                                                                                                                                                                                                           $




       Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes                                    Institution or issuer name:




                                                                                                                                                                                                                           $



       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an :LLC, partnership, and joint venture

           No                                     Name of entity:                                                                                                                       % of ownership:
      JjYes. Give specific
                                                                                                                                                                                                                           $
         information about
         them                                                                                                                                                                                                              $
                                                                                                                                                                                                                           $
            i Kristy                                           Holly-ray
FiledDebtor
       10/03/19
              First Name                       Middle Name               Last Name
                                                                                                Case 19-14190   Case number                              Doc 1


       Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          jNo
       NCIIYes. Give specific
           information about
                                               Issuer name:

              them .......................




       Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       [16A
       IiYes. List each
          account separately. Type of account:                              Institution name:

                                               401(k) or similar plan:

                                               Pension plan:

                                               IRA:

                                               Retirement account:

                                               Keogh:

                                               Additional account:

                                               Additional account:



       Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
       companies, or others

              No

       It _i Yes                                                     Institution name or individual:
                                               Electric:
                                                                                                                                     $______________________
                                               Gas:

                                               Heating oil:

                                               Security deposit on rental unit:

                                               Prepaid rent:

                                               Telephone:

                                               Water:

                                               Rented furniture:

                                               Other:



       Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

              No

              Yes ..........................   Issuer name and description:

                                                                                                                                     $


                                                                                                                                     $
               Kristy                                            Holly-ray
FiledDebtor
       10/03/19
            1
              First Name                        Middle Name            Last Name
                                                                                           Case 19-14190               Case number                                                       Doc 1


    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

            No
            Yes   ........................ ............   Institution name and description. Separately file the records of any interests.1 I U.S.C. § 521(c):

                                                                                                                                                                 $
                                                                                                                                                                 $




       Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit

      14-
        611 No
            Yes. Give specific
            information about them.                                                                                                                              $


       Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific
            information about them.


       Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

            No
      10 Yes. Give specific
            information about them....


    Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

       Tax refunds owed to you

      FOR No
      161   Yes. Give specific information
                                                                                                                                       Federal:
                 about them, including whether
                 you already filed the returns                                                                                         State:
                 and the tax years
                                                                                                                                       Local:                $


       Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      10— No
      Fq— Yes. Give specific information ..............
                                                                                                                                      Alimony:                   $_________________
                                                                                                                                      Maintenance:               $____________________
                                                                                                                                      Support:                   $_________________
                                                                                                                                      Divorce settlement:        $___________________
                                                                                                                                      Property settlement:       $__________________

       Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                 Social Security benefits; unpaid loans you made to someone else
      rid   No
      [U    Yes. Give specific information ...............
                       Kristy                             Holly-ray
FiledDebtor
       10/03/19
            1
              Fuel Name                  Middle Name                 Laid Name
                                                                                                       Case 19-14190                                    Case number                                                  Doc 1

       Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

      09-     N0
      14
      -
      01      Yes. Describe ....... .                                                                                                                                                           200
                                        John Deare Tractor Doesnt Run - My Home



       Inventory
      fNo
        Yes. Describe..



       Interests in partnerships or joint ventures
              No
      Ji    J Yes. Describe .......     Name of entity:                                                                                                               % of ownership:




    43 Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41 A))?
                         No
                   PA    Yes. Describe . .......
                                                                                                                                                                                            $


    41y business-related property you did not already list
              No
      131, Yes. Give specific
      F.
           information .........


                                                                                                                                                                                            $

                                                                                                                                                                                            $




       Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                     500
                                                                                                                                                                                            $_
       for Part 5. Write that number here              ........................................................................................................                    4



                    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1.


       Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      Ei3 No. Go to Part 7.
              Yes. Go to line 47.
                                                                                                                                                                                            Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                            or exemptions.
           Farm animals
           Examples: Livestock, poultry, farm-raised fish


      ,10.
                                        Horse - My Home                                                                                                                                 I       d,   500
               Kristy                                        Holly-ray
FiledDebtor
       10/03/19
            I
              First Name              Middle Name                      Last Name
                                                                                                         Case 19-14190                                    Case number           (if known)_________________________________
                                                                                                                                                                                                                                 Doc 1


       Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

      FO— No
      PU Yes. Name the insurance company
              of each policy and list its value.
                                                                     Company name:                                                                            Beneficiary:                               Surrender or refund value:




       Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
            No

      fU Yes. Give specific information             ..............




       Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

           j No
       Jj Yes. Describe each claim
                                                                                                                                                                                                     1
       Other contingent and unhiquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims
      10
      — No
            Yes. Describe each claim       ......................




    36. Any financial assets you did not already list

      iNo
      1D Yes. Give specific information             ............
                                                                     F
    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       forPart 4. Write that number here                 ......................................................................................................................................




                  Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

       Do you own or have any legal or equitable interest in any business-related property?
      lU    No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                                                     Current value of the
                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                     or exemptions.

       Accounts receivable or commissions you already earned

      11-
        4 No
            Yes. Describe   .......




       Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      INo
            Yes. Describe   .......
            1  Knsty                                              Holly-ray
FiledDebtor
       10/03/19
              First Name                         Middte Name                Last Name
                                                                                                         Case 19-14190                            Case number (ilstrmen)___________________________________      Doc 1

       Crops—either growing or harvested

             No
      [U     Yes. Give specific
             information . ............                                                                                                                                                     $
       Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
             No
       (jYes..........................



       Farm and fishing supplies, chemicals, and feed

             No
              ... .......................... I



       Any farm- and commercial fishing-related property you did not already list
             No
             Yes. Give specific
             information. ......... ...


       Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                 500
       for Part 6. Write that number here ......................................................................................................................................




  •ri                 Describe All Property You Own or Have an interest in That You Did Not List Above

       Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

      [jNo                                                                                                                                                                         1
      rP Yes. Give specific
         information
                                                                                                                                                                                                $________________

                                                                                                                                                                                                $_________________




       Add the dollar value of all of your entries from Part 7. Write that number here .............. ................................................... ..$ 0
                                                                                                                                                                                                                     I
                      List the Totals of Each Part of this Form

                                                                                                                                                                                            $_ 218000
       Part 1: Total real estate, line 2 ................................................................................................................                              4

       Part 2: Total vehicles, line 5                                                                              $_3200

       Part 3: Total personal and household items, line 15                                                         $_1075

       Part 4: Total financial assets, line 36

       Part 5: Total business-related property, line 45                                                            $_500

       Part 6: Total farm- and fishing-related property, line 52                                                   $_500

    61.Part 7: Total other property not listed, line 54                                                        .._0                                                                                                  I




       Total personal property. Add lines 56 through 61 ...................... $_5275                                                                Copy personal property total 4 + $_5275



       Total of all property on Schedule NB. Add line 55+ line 62 ..........................................................................................                               .$_ 223275
Filed 10/03/19To Schedule B: Item 06 - Household
  Attachment                                Case goods
                                                 19-14190   Doc 1

 Description: Washer Dryer Stove Fridge - My Home

 Attachment To Schedule B: Item 040 Machinery
Filed 10/03/19                                                                Case 19-14190                                                                           Doc 1

     Debtor 1          Kristy                                              Holly-ray
                        First Name                Middle Name                 Last Name

     Debtor 2
    (Spouse, if filing) First Name                Middle Name                 Last Name


     United States Bankruptcy Court for the: EASTERN District of CALIFORNIA

    Case number                                                                                                                                U Check if this is an
     (If known)
                                                                                                                                                  amended filing


   Official Form 1 06C
   Schedule C: The Property You Claim as Exempt                                                                                                               04/1-

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
   Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
   space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
   your name and case number (if known).

     Cf YUW\ ]hY a 'cZ'dfcdYfhm'mc i W'UJa 'Ug'Yl V a dhimc j a I gh'gdVWjlm'hY'Ua ci bh'cZ Th\Y'YtYadh)cb'mc I 'W'Ul a 'CbY kum'cZXclb[ gc]ghc'ghuhv'U'
   gdYWJZJW'Xc"UfUa ci bhUgY lYadh"5'hYfbuhjjY'mimc i aUmW'U]a hV'Zi"ZuJf' a Uf_Yh itT iY'cZ'hY'dfcdYfhm'VYJb['Y lYadhYX' I d'hc'hY'Ua ci bh'
   cZ'Ubm'Udd]WUV'Y'ghuh i hcfm'] a]hGc aY'Y I Y a dhlcbg—g iW\ 'Ug'h\cgy'Zcf \YU'hiJJXgIi] [ \hghc'fYWY] jY'WYfhUlbVYbYZ]hgIUbXhU I IYIY a dh'
   fYhjfYaYbh'Zi bXg—aUm'VY' I bjaJhYX]b'Xc"Uf'Uac i bh' <ckYjYfI]Zmc i 'W'IJ]a UbYIYadhcbcZ'%$$ i 'cVZUJf' auf_Yh' JU' iY I bXYfU"IJk'hUh
   ']a]hg'h\YY IYa dhlcb'hc'U'dUfhJW i'UfXc"Uf'U a ci bhUbXhY ItT i Y'cZ'h\Y'dfcdYfhmJg'XYhYf aJbYX'hcYlWYYX'hUh'U a ci btiImc I f'Y IV adh]cb'
    kc i XVYJ a 1hYX'hch\Y'Udd'1WUVY'ghUh I hcfmU a ci bh"


   •i                Identify the Property You Claim as Exempt


        K \JW\ 'gYhcZ'YI Y a dh]cbg'UfYmc 1 'W'U]a lbL:3'Check one only, even if your spouse is filing with you.
         U    You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         U    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



          cf'Ubm'dfcdVfhm'mc I "]gh'cb Schedule A/if h\Uh'mc i W'UJ a 'Ug'YIYa dhIzrlb'hvr Jbzcf a Uhjcb'VY'ck'


          6fffZ'XYgWfJdh3cb'cZ'h\Y'dfcdYfhmUbX'bY'cb 7 iffYbh' jU' i Y'cZh\Y              5 a ci bh'cZhY'YIVadhIcbmc I 'W'UJa'      GdYW]ZW"Ukg'h\Uh'U"ck'YlYa dh]cb
          Schedule A/B h\Uh ighg'h]g'dfcdYfhm'         dcfhlcbmc I 'c kb'
                                                                Copy the value from       Check only one box for each exemption.
                                                                Schedule NB
                               Real Estate My Home                                                                                 704.710;704.720;704.730;
         Brief
         description:
                                 SSSSSSSSSSSSSSSSSSSSSSSSS'     $   218909                Us ______                                704.92.0;

         Line from                                                                        Id   100% of fair market value, up to
         Schedule NB:                                                                          any applicable statutory limit

                               Mercedes 2099 Doesn't Run
         Brief                                                                                                                     704.010:
                                 SSSSSSSSSSSSSSSSSSSSSSSSS          1000                  U$______
         description:
         Line from                                                                        4 100% of fair market value, upto
         Schedule A/B:                                                                         any applicable statutory limit
                               Audi 2001 Not Working
         Brief                                                                                                                     704.010;
         description:           SSSSSSSSSSSSSSSSSSSSSSSSS       $200                      Us
         Line from                                                                             100% of fair market value, upto
         Schedule A/B:                                                                         any applicable statutory limit


         5fY'mc I 'W'U] a Jb[ 'U' \ c a YghYUX'Y IV a dh]cb'cZ a cfY'hUb' %+O,3)$3
         (Subject to adjustment on 4/01122 and every 3 years after that for cases filed on or after the date of adjustment.)

                No
         U      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                U    No
                U    Yes
FiledDebtor
       10/03/19
            1 Kristy                                Holly-ray                  Case 19-14190             Case number   (if                                      Doc 1
                 First Name           Middle Name        Last Name                                                                                      -



    •Th         Additional Page


          6fjYZXYgWfJdhJcbcrhYdfcdYfhmUbW]br                     71 ffYbhjU' iYcZh\Y      5 a ci bhcVh\YYl Yadhlcbmc I TU a'       GdqZlW'Ukgh\UhU"ckvlvadhjcb
          cb Schedule A/B hUh Jghgh\]gdfcdYfhm                   dcfh]cbmc ic kb
                                                                 Copy the value from      Check only one box for each exemption
                                                                 Schedule NB

        Brief
                              Chevy Truck My Farm
                                                                     $_1900                                                       704.010;
        description:                                                                         $
        Line from                                                                            100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit

        Brief                 John Deare Tractor Doesnt                                                                           704.060:
                              ffi§AssssSssSSSSSSSSSSSSSS-                200
        description:                                                 $                       $
        Line from                                                                         6a 100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit


        Brief                 John Deare Tractor 1934                                                                             704.060;704.060;
        description:                    SSSSSSSSSSSSSSSSSS           $_200                   $
        Line from                                                                            100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit

        Brief                 Motor Home 1994 Not                                                                                 704.060;
        description:          WSSSSSSSSSSSSSSSS                      $_100                J$
        Line from                                                                          100% of fair market value, up to
        Schedule A/B:                                                                      any applicable statutory limit

        Brief                 Lawnmower
                                                                                                                                  704.060;
        description:          sssssssssssssssssssssssss              $100                 u$
        Line from                                                                            100% of fair market value, up to
        Schedule AIB:                                                                        any applicable statutory limit

                              Furniture
        Brief
        description:          sssssssssssssssssssssss                $_500                   $
                                                                                                                                  704.020;

        Line from                                                                            100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit

                              Clothing
        Brief
        description:
                              sssssssssssssssssssssssss              $_400                U$
                                                                                                                                  _______________________________
                                                                                                                                   704 020;

        Line from                                                                         Gk 100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit

        Brief
                              Washer Dryer Stove Fridge
                                                                                                                                  704.020;
        description:          SSSSSSSSSSSSSSSSSSSSSSSSS              $_150                U$
        Line from                                                                           ' 100% of fair market value, upto
        Schedule NB:                                                                         any applicable statutory limit

                              Jewelry
        Brief
        description:
                              sssssssssssssssssssssssss              $_25                 u$                                      704.040:

        Line from                                                                         1' 100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit

        Brief
                              Horse
                              SSSSSSSSSSSSSSSSSSS                                                                                 704.020:
        description:                                             $_500                       $
        Line from                                                                          d 100% of fair market value, upto
        Schedule A/B:                                                                        any applicable statutory limit

        Brief
        description:          SSSSSSSSSSSSSSSSSSSSSSSSS              $_________________   U$
        Line from                                                                         U 100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit


        Brief
        description:          SSSSSSSSSSSSSSSSSSSSSSSSS              $                    U$
        Line from                                                                         U 100% of fair market value, up to
        Schedule A/B:                                                                        any applicable statutory limit
Filed 10/03/19                                                                         Case 19-14190                                                                               Doc 1

   Debtor I
                       First Name                   teddle Name                     Last Name

   Debtor 2
   (Spouse, it fiitng) First Name                   Midthe Name                     Last Narrre


   United States Bankruptcy Court for the:                        District of

   Case number
    (If known)                                                                                                                                             U Check if this is an
                                                                                                                                                              amended filing

   Official Form I 06D
   Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
   additional pages, write your name and case number (if known).


      Do any creditors have claims secured by your property?
              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below.


                  List All Secured Claims
                                                                                                                            Column A               Column B              Column C
      List all secured claims. If a creditor has more than one secured claim, list the creditor separately                  Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                        that supports this    portion
                                                                                                                            Do not deduct the
      As much as possible, list the claims in alphabetical order according to the creditor's name.                          value of collateral,   claim                 If any

                                                              Describe the property that secures the claim:                 $_______________ $
       Creditors Name


       Number            Street

                                                             As of the date you file, the Claim is: Check all that apply.
                                                              U     Contingent
                                                              U     Unliquidated
                                      State ZIP Code
       city                                                   U     Disputed
    Who owes the debt? Check one.                            Nature of lien. Check all that apply.
     U    Debtor 1 only                                       U     An agreement you made (such as mortgage or secured
     U    Debtor 2 only                                             car loan)
     U    Debtor I and Debtor 2 only                          U     Statutory lien (such as tax lien, mechanic's lien)
     U    At least one of the debtors and another             U     Judgment lien from a lawsuit
                                                              U     Other (including a right to offset)
    U     Check if this claim relates to a
          community debt
    Date debt was incurred                                    Last 4            of account number

                                                              Describe the property that secures the claim:                 $________________ $_______________
       Creditor's Name


       Number            Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                              U     Contingent
                                                              U     Unliquidated
       City                           State ZIP Code
                                                              U     Disputed
    Who owes the debt? Check one.                             Nature of lien. Check all that apply.
     U    Debtor 1 only                                       U     An agreement you made (such as mortgage or secured
     U    Debtor 2 only                                             car loan)
     U    Debtor I and Debtor 2 only                          U     Statutory lien (such as tax lien, mechanic's lien)
     U    At least one of the debtors and another             U     Judgment lien from a lawsuit
                                                              U     Other (including a right to off set)
    U     Check if this claim relates to a
          community debt
    Date debt was incurred                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                I)
Filed 10/03/19                                                                           Case 19-14190                                                                                  Doc 1
    Debtor 1
                       Kristy                                                       Holly-ray
                        First Name                     Middle Name                      Last Name

    Debtor 2
    (Spouse, it filing) First Name                     Middle Name                      Last Name


    United States Bankruptcy Court for the:          EASTERN         District of
                                                                                   CALIFORNIA

    Case number
                                                                                                                                                              U Check if this is an
     (II known)                                                                                                                                                     amended filing


   Official Form I 06 ElF
   Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                            12/15
   Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
   List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
   A/B: Property (Official Form I06AIB) and on Schedule *3: Executory Contracts and Unexpired Leases (Official Form 1060). Do not include any
   creditors with partially secured claims that are listed in Schedule D. Creditors Who Have Claims Secured by Property. If more space is
   needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
   any additional pages, write your name and case number (if known).

                     List All of Your PRIORITY Unsecured Claims

       Do any creditors have priority unsecured claims against you?
           jF',lo. Go to Part 2.
      JiYes.
       List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                              Total claim    Priority      Nonpriority
                                                                                                                                                             amount        amount

          Enhanced Recovery Col/comcast                                       Last 4 digits of account number        2424L... -              $ i SI         $ 151         $_0
         Priority Creditor's Name

          8014 Bayberry Rd                                                    When was the debt incurred?             2014
         Number            Street

                                                                              As of the date you file, the claim is: Check at that apply.
          Jacksonville        FL 32256
         City                                State      ZIP Code
                                                                              U     Contingent
                                                                              U     Unliquidated
         Who incurred the debt? Check one.
                                                                              U     Disputed
         Id     Debtor 1 only
         U      Debtor 2 only                                                 Type of PRIORITY unsecured claim:
         U      Debtor 1 and Debtor 2 only
                                                                              U     Domestic support obligations
         U      At least one of the debtors and another
                                                                              U     Taxes and certain other debts you owe the government
         U      Check if this claim is for a community debt                   U     Claims for death or personal injury while you were
         Is the claim subject to offset?                                            intoxicated

                No                                                            9     Other. Specify Cable

         U      Yes

         Franchise Tax Board California                                       Last 4 digits of account number
         Priority Creditors Name
                                                                                                                     _xuh - - $1500                         $1500
          9646 Butterfield Way,
                                                                              When was the debt incurred?            2016
         Number            Street
                                                                              As of the date you file, the claim is: Check all that apply.

         Sacramento          CA 95827                                         U     Contingent
         City                                State      ZIP Code              U     Unliquidated

         Who incurred the debt? Check one.                                    U     Disputed

                Debtor I only
                                                                              Type of PRIORITY unsecured claim:
          U     Debtor 2 only
                                                                              U     Domestic support obligations
         U      Debtor I and Debtor 2 only
         U      At least one of the debtors and another
                                                                              U     Taxes and certain other debts you owe the government
                                                                              U     Claims for death or personal injury while you were
         U      Check if this claim is for a community debt                         intoxicated
         Is the claim subject to offset?                                      lid   Other. Specify State Taxe
                No
          U     Yes
     ueotor   1           .eae..y                           smJlay                                                  ease numoer        wri________________________________________
Filed 10/03/19Fast Name                Mstdle Name             Last Name
                                                                                     Case 19-14190                                                                                   Doc 1
                        Your PRIORITY Unsecured Claims - Continuation Page

     After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                Total claim    Priority      Nonpriority
                                                                                                                                                          amount        amount


              Internal Revenue Service                                     Last 4 digits of account number        3242 -                   2000          $ 32000
          Priority Creditor's Name

              Internal Revenue       Service Cente                         When was the debt incurred?            2014
          Number            Street

                                                                           As of the date you file, the claim is: Check all that apply.

              Fresno    CA 93888-0010                                      U    Contingent
          City                                 State   ZIP Code            Li   Unhiquidated
                                                                           Li   Disputed
          Who incurred the debt? Check one.
                  Debtor 1 only                                            Type of PRIORITY unsecured claim:
          Li      Debtor 2 only
                                                                           Li   Domestic support obligations
          Li      Debtor I and Debtor 2 only
                                                                           Li   Taxes and certain other debts you owe the government
          U       At least one of the debtors and another
                                                                           Li   Claims for death or personal injury while you were
                                                                                intoxicated
          Li      Check if this claim is for a community debt
                                                                           4    Other, Specify Taxable Income

          Is the claim subject to offset?
                  No
          U       Yes


              Michael & Associates                                         Last 4 digits of account number        0233_.                   523           $_7523
          Priority Creditor's Name

              555 St Charles Dr #204                                       When was the debt incurred?             2016
          Number            Street

                                                                           As of the date you file, the claim is: Check all that apply.

              Thousand Oaks          CA 91360                              U    Contingent
          City                                 State   ZIP Code            U    unliquidated
                                                                           U    Disputed
          Who incurred the debt? Check one.

          la      Debtor 1 only                                            Type of PRIORITY unsecured claim:
          U       Debtor 2 only
                                                                           U    Domestic support obligations
          U       Debtor 1 and Debtor 2 only
                                                                           Li   Taxes and certain other debts you owe the government
          U       At least one of the debtors and another
                                                                           Li   Claims for death or personal injury while you were
          U       Check if this claim is for a community debt                   intoxicated
                                                                                Other. Specify Credit Card
          Is the claim subject to offset?
               1No
          DYeS


                                                                           Last 4 digits of account number - - - - $___________ $_________
          Priority Creditor's Name

                                                                           When was the debt incurred?
          Number            Street

                                                                           As of the date you file, the claim is: Check all that apply.

                                                                           Li   Contingent
          City                                 State    ZIP Code           U    Unhiquidated
                                                                           Li   Disputed
          Who incurred the debt? Check one.
          U       Debtor 1 only                                            Type of PRIORiTY unsecured claim:
          U       Debtor 2 Only
                                                                           U    Domestic support obligations
          U       Debtor 1 and Debtor 2 only
                                                                           U    Taxes and certain other debts you owe the government
          U       At least one of the debtors and another
                                                                           U    Claims for death or personal injury while you were
          U       Check if this claim is for a community debt                   intoxicated
                                                                           Li   Other. Specify
          Is the claim subject to offset?
          Li      No
          U       Yes
    ueotori            maL                                 s,a.y.a3                                              t.ase numoer (if
Filed 10/03/19
             First        Name           Mdle Name             Last Name
                                                                                      Case 19-14190                                                                                Doc 1
                      List All of Your NONPRIORITY Unsecured Claims

       JLo any creditors have nonpriority unsecured claims against you?
       LO      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      f        Yes

       List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.11 you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim

              A.r.m Solutions                                                              Last 4 digits of account number          .0082 - -
          N onpriority Creditor's Name                                                                                                                              $_934
              Po Box 371473                                                               When was the debt incurred?               J1019___
          Number           Street
              Pittsburgh PA 15250-7473
          City                                              State          ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                           U    Contingent
          Who incurred the debt? Check one.                                                U    Unhiquidated
          el     Debtor 1 only                                                             U    Disputed
          0      Debtor 2 only
          U      Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
          U      At least one of the debtors and another                                   U    Student loans
          U      Check if this claim is for a community debt                               U    Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
          Is the claim subject to offset?                                                  U    Debts to pension or profit-sharing plans, and other similar debts
          16     No                                                                        61   Other. Specify   Utilities
          0      Yes


              Adventist Health Selma                                                       Last 4 digits of account number - - - -                                  $_2100
          Nonpriority Creditor's Name                                                     When was the debt incurred?                7/2019
              1141 Rose Ave
          Number           Street                                                                                                                                                    I
                                                                                           As of the date you file, the claim is: Check all that apply.
              Selma CA 93662
          City                                              State          ZIP Code
                                                                                           U    Contingent
          Who incurred the debt? Check one.                                                U    Unliquidated

                 Debtor 1 only                                                             U    Disputed

          U      Debtor 2 only
                                                                                           Type of NONPRIORITY unsecured claim:
          U      Debtor I and Debtor 2 only
          U      At least one of the debtors and another                                   U    Student loans
                                                                                           U    Obligations arising out of a separation agreement or divorce
          U      Check if this claim is for a community debt                                    that you did not report as priority claims
          Is the claim subject to offset?                                                  U    Debts to pension or profit-sharing plans, and other similar debts
          id     No                                                                        h4   Other. Specify   Medical
          0      Yes


              American Exoress                                                             Last 4 digits of account number           9859 - -
          Nonpriority Creditor's Name                                                                                                                               $ 6643
                                                                                           When was the debt incurred?               2012-2016
              Michael & Assoc. 555 St. Charles Dr
          Number           Street
              Thousand Oaks Dr CA 91360                                                    As of the date you file, the claim is: Check all that apply.
          City                                              State          ZIP Code

          Who incurred the debt? Check one.
                                                                                           U    Contingent
                                                                                           U    Unliquidated
          6 Debtor 1 only
          1
                                                                                           U    Disputed
          U      Debtor 2 only
          U      Debtor I and Debtor 2 only
                                                                                           Type of NONPRIORITY unsecured claim:
          U      At least one of the debtors and another
                                                                                           U    Student loans
          U      Check if this claim is for a community debt                               U    Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
          Is the claim subject to offset?
                                                                                           U Debts to pension or profit-sharing plans, and other similar debts
                 No
                                                                                            4   Other. Specify   Credit Card
          U      Yes
     veotor    1           ximsty                         riuHy-ray                                                  uase numoer
Filed 10/03/19First Name                    Midthe Name           1,asr Name
                                                                                          Case 19-14190                                                                           Doc 1
                          Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, number thembeginning With 4.4, followed by 4.5, and so forth.                                                               Total claim




              American Exoress                                                                  Last 4 digits of account number        .171__ - -
              Nonpriority Creditor's Name
                                                                                                When was the debt incurred?             2012-2016
              Po Box 297871
              Number           Street
                                                                                                As of the date you file, the claim is: Check all that apply.
               Ft Lauderdale         FL 33329
              City                                             State           ZIP COde         U    Contingent
                                                                                                U    tinliquidated
              Who incurred the debt? Check one.
                                                                                                U    Disputed
                     Debtor 1 only
              Lj     Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 only
                                                                                                U    Student loans
              U      At least one of the debtors and another
                                                                                                U    Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
              U      Check if this claim is for a community debt
                                                                                                U    Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                   id   Other. Specify    Credit Card
                     No
              U      Yes




                                                                                                Last 4 digits of account number                   - -
              American Exnress
              Nonpriority Creditor's Name
                                                                                                When was the debt incurred?              2012-2016
              PoBox 297871
              Number           Street
                                                                                                As of the date you file, the claim is: Check all that apply.
              Ft     Lauderdale FL 33329
              City                                             State           ZtP Code         U    Contingent
                                                                                                U    Unliquidated
          Who incurred the debt? Check one.
                                                                                                U    Disputed
          I   tl     Debtor I only
              U      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 only
                                                                                                U    Student loans
              U      At least one of the debtors and another
                                                                                                U    Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
              U      Check if this claim is for a community debt
                                                                                                U    Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                    4   Other. Specify    Credit Card
                     No
              U      Yes




              American Exnress                                                                  Last 4 digits of account number        _.92.
              Nonpriority Creditor's Name
                                                                                                When was the debt incurred?              2012-2016
              Po Box 297871
              Number           Street
                                                                                                As of the date you file, the claim is: Check all that apply.
              .FtLauderdale FL 33329
          City                                                 State           ZIP Code         U    Contingent
                                                                                                U    Untiquidated
              Who incurred the debt? Check one.
                                                                                                U    Disputed
          16         Debtor 1 Only
          U          Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor I and Debtor 2 only
                                                                                                U    Student loans
              U      At least one of the debtors and another
                                                                                                U    Obligations arising Out of a separation agreement or divorce that
              U                                                                                      you did not report as priority claims
                     Check if this claim is for a community debt
                                                                                                U    Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                        Other. Specify    Credit Card
                lNo
              U      Yes
     Leotor    1          fl.flSLV                      nouy-rdy                                                 ease numoer
Filed 10/03/19First Name                  Middle Name            last Name
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     liiw.               Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, numbei them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim


     .7]
           American Express                                                                   Last 4 digits of account number       .1 71        - -                  $_9461
           Nonpriority Creditor's Name                                                                                               ,     , ,
                                                                                              When was the debt incurred?                  -'"   U
               Po Box 297871
           Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
               Ft Lauderdale FL 33329
           City                                               State          ZIP Code         U   Contingent
                                                                                              U   Unhiquidated
           Who incurred the debt? Check one.
                                                                                              U   Disputed
           16       Debtor 1 only
           U        Debtor 2 only                                                             Type of NONPRIOR1TY unsecured claim:
           U        Debtor I and Debtor 2 only
                                                                                              U   Student loans
           U        At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
           U        Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                        Other, specify_Credit    Card
           16       No
           U        Yes




               AmeriEas                                                                       Last 4 digits of account number       _JL              -                  79467
           Nonpriority Creditor's Name
                                                                                              When was the debt incurred?
                                                                                                                                     1/2019
               Po Box 7155
           Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
               Pasadena CA 91109-7155
           City                                               State          ZIP Code         U   Contingent
                                                                                              U   Unhiquidated
           Who incurred the debt? Check one.
                                                                                              U   Disputed
           6
           1        Debtor I only
           U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
           U        Debtor I and Debtor 2 only
                                                                                              U   Student loans
           U        At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
           U        Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                        Other. Specify   Utilities
                    No
           U        Yes



                                                                                              Last 4 digits of account number       j167_ - -
               Amerigas
           Nonpriority Creditor's Name
                                                                                              When was the debt incurred?                2018
               Po   Box 7155
           Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
               Pasadena CA 91109-7155
           City                                               State          ZIP Code         U   Contingent
                                                                                              U   Unliquidated
           Who incurred the debt? Check one.
                                                                                              U   Disputed
                    Debtor I only
           U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
           U        Debtor I and Debtor 2 only
                                                                                              U   Student loans
           U        At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
           U        Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                        Other. Specify   Utilities
                    No
           U        Yes
     uernor   1         1r1sy                         nutty-ray                                                 Lase numoer
Filed 10/03/19Frsl Name                 Mstthe Name          - Last Name
                                                                                      Case 19-14190                                                                          Doc 1
                       Your NONPRIORITY Unsecured Claims - Continuation Page


      After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                             Last 4 digits of account number . 425               - -
              Bethea Jenner
          Nonpriority Creditors Name
                                                                                             When was the debt incurred?            2018
              167 Cherry St Pmb 292
          Number            Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Milford CT 06460
          City                                              State          ZIP Code          U   contingent
                                                                                             U   Unliquidated
          Who incurred the debt? Check one.
                                                                                             U   Disputed
          16      Debtor 1 only
          U       Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                             U   Student loans
          U       At least one of the debtors and another
                                                                                             U   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                             U   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                    4   Other. Specify   Physic
          13      No
          U       Yes




                                                                                             Last 4 digits of account number                        -                 167
              Biz Filings
          Nonpriority Creditor's Name
                                                                                             When was the debt incurred?
                                                                                                                                   2018
              39922 Tresury Center
          Number            Street
                                                                                             As of the date you file, the claim Is: Check all that apply.
              Chicago IL 60694-9900
          City                                              State          ZIP Code          U   Contingent
                                                                                             U   Unliquidated
          Who incurred the debt? Check one.
                                                                                             U   Disputed
          6
          1       Debtor 1 only
          U       Debtor 2 only                                                              Type of NONPRIOR1TY unsecured claim:
          U       Debtor 1 and Debtor 2 Only
                                                                                             U   Student loans
          U       At least one of the debtors and another
                                                                                             U   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                             U   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify   Trying To Start A Business
                  No
          U       Yes


                                                                                                                                                                     $5414
                                                                                             Last 4 digits of account number         6330 - -
              Calvery Portfolio Svc
          Nonpnority Creditors Name
                                                                                             When was the debt incurred?             2/2018
              Po Box 27288
          Number            Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Tempe AZ 852886
          City                                              State          ZIP Code          U   Contingent
                                                                                             U   Untiquidated
          Who incurred the debt? Check one.
                                                                                             U   Disputed
                  Debtor I only
          U       Debtor 2 only                                                              Type of NONPRIOR1TY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                             U   Student loans
          U       At least one of the debtors and another
                                                                                             U   Obligations arising Out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                             U   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify   Credit Card
               INo
          U       Yes
    ueotor   1          flIISLY                           fiWl V-ray                                            t.ase numoer   (If
Filed 10/03/19
             First Name                 Middle Name             Last Name
                                                                                       Case 19-14190                                                                          Doc 1
                       Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim




             Cantial Mana2ement Services L                                                   Last 4 digits of account number         .ii6
         Nonpriority Creditor's Name
                                                                                             When was the debt incurred?             2015
             698 1/2 South Odgen St
         Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
             Baffalo NY 14206-2317
         City                                                 State         ZIP Code         U   contingent
                                                                                             U   Untiquidated
         Who incurred the debt? Check one.
                                                                                             U   Disputed
         16       Debtor 1 only
         U        Debtor 2 only                                                              Type of NONPRIORITY unsecured             claim:
         U        Debtor I and Debtor 2 only
                                                                                             U   Student loans
         U        At least one of the debtors and another
                                                                                             U   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U Check if this claim is for a community debt
                                                                                             U   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                         Other. Specify   Credit Card
                 INo
          U       Yes




                                                                                             Last 4 digits of account number          0057                            10811
             Chase Bank
         Nonpriority Creditor's Name
                                                                                             When was the debt incurred?
                                                                                                                                     2/2019
             270 Park Avenue
         Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
             New York, NY 10017
         City                                                 State         ZIP Code         U   Contingent
                                                                                             U   Unliquidated
         Who incurred the debt? Check one.
                                                                                             U   Disputed
                  Debtor I only
          U       Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                             U   Student loans
          U       At least one of the debtors and another
                                                                                             U   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                             U   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify   Bank Charges
                  No
             U    Yes




             Citibank. N.aJsears Card
                                                                                             Last 4 digits of account number         .j!?L - -
          Nonpriority Creditor's Name
                                                                                             When was the debt incurred?              2013-2017
             Sears Private Label General In P.o. Box 6275
          Number            Street
                                                                                             As of the date you file, the claim is: Check all that apply.
             Sioux Falls ND 57117
          City                                                State         ZIP Code         U   Contingent
                                                                                                            ted
                              Th                      .
                                                                                                            4PRIOT" unseCured clatm.
                                                                                             v   eD

                                                                                             U   Student loans
                                                                                                 Obligations arising out of a separation agreement or divorce that
         U Debtor 1 and Debtor2oY                                                            U
                                                                                                 you did not report as priority claims
         0 At least one of the debtors and another                                               Debts to pension or profit-sharing plans, and other similar debts
                  Check if this claim is for a community debt
                                                                                             U
             U                                                                                    Other.
             Is the claim subject to offset?

                  No
             U    Yes
    ueotor   1           IrISLV                       1-buy-ray                                                 tase numoer
Filed 10/03/19
             Feat Name                  Middle Name            Last Name
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             Citibank, N.a/                                                                 Last 4 digits of account number        _61_ - -
         Nonpriority Creditor's Neme
                                                                                            When was the debt incurred?             20142017
             Citi At: Citibank / Choice, P. Choice, P.o. Box 9001037
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Louisville KY 40290-1037
         City                                               State          ZIP Code         U    Contingent
                                                                                            U    Unliquidated
         Who incurred the debt? Check one.
                                                                                            U    Disputed
         16       Debtor 1 Only
         U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                            U    Student loans
          U       At least one of the debtors and another
                                                                                            U    Obligations arising Out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                         Other. Specify   Credit Card
         16       No
         U        Yes,




                                                                                            Last 4 digits of account number          1000                             9124
             Citibank. N.a/
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?
                                                                                                                                   2014-2017
             Citi At: Citibank / Choice, P. P.o. Box 9001037
          Number            Street
                                                                                            As of the date you file, the claim Is: Check all that apply.
             Louisville KY 40290-1037
         City                                               State          ZIP Code         U    Contingent
                                                                                            U    Unliquidated
         Who incurred the debt? Check one.
                                                                                            U    Disputed
                  Debtor 1 Only
          U       Debtor 2 Only                                                             Type of NONPRIORITY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                            U    Student loans
          U       At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   Ja   Other. Specify   Credit Card
                  No
          U       Yes



                                                                                            Last 4 digits of account number                         -
             Citibank. N.a/ Best Buy Visa
          Nonpriority Creditor's Name
                                                                                            When was the debt incurred?              2014-2017
             P.o. Box 790441 Best Buy
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             St. Louis. Mo MO 63179-0441
          City                                              State          ZIP Code         U    Contingent
                                                                                            U    Unliquidated
          Who incurred the debt? Check one.
                                                                                            U    Disputed
         t        Debtor 1 only
         U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             U    Debtor 1 and Debtor 2 only
                                                                                            U    Student loans
             U    At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
             U    Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   id   Other. Specify   Credit Card
                 1No
          U       Yes
    uernor   1          n.ristv                       1-buy-ray                                              t.ase numoer
Filed 10/03/19
             flrM Name                  Mide Name           Last Name
                                                                                   Case 19-14190                                                                           Doc 1
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    After listing any entries on this page, number them beginning with 4.4, followed by 45, and so forth.                                                         Total claim




             Citibankna
                                                                                         Last 4 digits of account number         576 6 .
         Nonpriority Creditors Name
                                                                                         When was the debt incurred?             2017
             Po Boz 6500
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             Sioux Falls SD 57117
         City                                               State       ZIP Code         U    Contingent
                                                                                         O    Unliquidated
         Who incurred the debt? Check one.                                               U    Disputed
                  Debtor 1 only
         0        Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
         U        Debtor 1 and Debtor 2 only
                                                                                         O    Student loans
         U        At least one of the debtors and another
                                                                                         U    Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         U        Check if this claim is for a community debt
                                                                                         U    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  4   Other. Specify Credit Card
                 1No
         U        Yes




                                                                                         Last 4 digits of account number          5637                             2450
             Comenity Bank / Victoria
         Nonpriority Creditor's Name
                                                                                         When was the debt incurred?
                                                                                                                                 2017
             Po Box 182789
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             Cololumbus OH 43218
         City                                               State       ZtP Code         U    Contingent
                                                                                         U    Unliquidated
         Who incurred the debt? Check one.
                                                                                         U    Disputed
         16       Debtor I only
         U        Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
         0        Debtor I and Debtor 2 only
                                                                                         U    Student loans
         U        At least one of the debtors and another
                                                                                         U    Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         U        Check if this claim is for a community debt
                                                                                         U    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                      Other. Specify Credit Card
                  No
         0        Yes



                                                                                         Last 4 digits of account number          5637
             Comenitv Bank Buckel
         Nonpriority Creditor's Name
                                                                                         When was the debt incurred?              2017
             Po Box 182789
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             Cololumbus 01143218
         City                                               State       ZtP Code         U    Contingent
                                                                                         U    Unliquidated
         Who incurred the debt? Check one.                                               U    Disputed
                  Debtor 1 only
             U    Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
             U    Debtor 1 and Debtor 2 only
                                                                                         U    Student loans
             U    At least one of the debtors and another
                                                                                         U    Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             U    Check if this claim is for a community debt
                                                                                         U    Debts to pension or profit-sharing plans, and other similar debts
             Is the claim subject to offset?                                             Id   Other. Specify Credit     Card
         IJ       No
         U        Yes
     L)emOr    1         1.117ISI                         nwly-rdy                                               tase numoer
Filed 10/03/19First Name                    Middle Name         Last Name
                                                                                       Case 19-14190                                                                           Doc 1
                        Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Total claim




              Comenitv Bank/ Buckel                                                          Last 4 digits of account number          1219           -
              Nonpriority Creditor's Name
                                                                                             When was the debt incurred?                  2016
              Po Box 182789
              Number          Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Columbus 01143218-2789
          City                                               State          ZIP Code         U    Contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.
                                                                                             U    Disputed
                   Debtor I only
              U    Debtor 2 only                                                             Type of NONPRIOR1TY unsecured claim:
              U    Debtor I and Debtor 2 only
                                                                                             U    Student loans
              U    At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
              U    Check if this claim is for a community debt
                                                                                             U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                         Other. Specify   Credit Card
          16       No
          U        Yes




                                                                                             Iast 4 digits   of account number            5637 -                       1600
              Comenity Bank! Victoria
          Nonpriority Creditor's Name
                                                                                             When was the debt incurred?             -2016
              Po Box 182789
          Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Columbus OH 43218
          City                                               State          ZIP Code         U    Contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.
                                                                                             U    Disputed
          6
          1        Debtor 1 only
          U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              U    Debtor I and Debtor 2 only
                                                                                             U    Student loans
              U    At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
              U    Check if this claim is for a community debt
                                                                                             U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                         Other. Specify   Credit Card
                   No
          U        Yes



                                                                                             Last 4 digits of account number              7616 - -
              Covereent Outsourcin
          Nonpriority Creditor's Name
                                                                                             When was the debt incurred?                  2015
              AtersoOl Po Box 1280
          Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Oaks PA 19456-1280
          City                                               State          ZIP Code         U    contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.                                                  U    Disputed
                   Debtor 1 only
              U    Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          U        Debtor 1 and Debtor 2 only
                                                                                             U    Student loans
          U        At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
              U    Check   if this claim is for a community debt
                                                                                             U    Debts to pension or profit-sharing plans, and other similar debts
          is the claim subject to offset?                                                    Id   Other. Specify   Credit Car's
               1No
          U        Yes
   U5DtOt 1           fl,FISIV                       nouy -ray                                               t.   ase numoer   f
Filed 10/03/19        First Name       Middle Name         - Last Name
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   After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



    25] Deversified Consultants                                                           Last 4 digits of account number          140       - -                  $_965
         Nonpriority Creditor's Name
                                                                                          When was the debt incurred?
            10550 Deerwood Park Blvd
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
            Jacksonville FL 32256
         City                                             State          ZIP Code         U   Contingent
                                                                                          U   Unsiquidated
         Who incurred the debt? Check one.
                                                                                          U   Disputed
                Debtor 1 only
         U      Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
         U      Debtor I and Debtor 2 only
                                                                                          U   Student loans
         U      At least one of the debtors and another
                                                                                          U   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         U      Check if this claim is for a community debt
                                                                                          U   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                  4   Other. Specify       Cable
                No
         U      Yes




                                                                                          Last 4 digits of account number           1120                            1800
            Discover Fin Svcs L1c1920
         Nonpriority Creditor's Name
                                                                                          When was the debt incurred?
                                                                                                                                   2016
            PoBox 15316
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
            Wilmingten DE 19850
         City                                             State          ZIP Code         U   Contingent
                                                                                          U   Unliquidated
         Who incurred the debt? Check one.
                                                                                          U   Disputed
        16 Debtor I only
         U      Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
         U      Debtor 1 and Debtor 2 only
                                                                                          U   Student loans
         U      At least one of the debtors and another
                                                                                          U   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         U      Check if this claim is for a community debt
                                                                                          U   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                      Other. Specify      Credit Card
                No
         U      Yes



                                                                                          Last 4 digits of account number          j129 - -
            Discovet Fin Svcs LIc
         Nonpriority Creditor's Name
                                                                                          When was the debt incurred?               2012-2017
            Po Box 15316 911 Duke Blvd
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
            Wilmingtom DE 19850
         City                                             State          ZIP Code         U   contingent
                                                                                          U   Unliquidated
         Who incurred the debt? Check one.
                                                                                          U   Disputed
        ti      Debtor 1 only
        U       Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
         U      Debtor 1 and Debtor 2 only
                                                                                          U   Student loans
         U      At least one of the debtors and another
                                                                                          U   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         U      Check if this claim is for a community debt
                                                                                          U   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                      Other. Specify       Credit Card
                No
         U      Yes
     vernon             irisiv                        1-luny-ray                                                 t.ase numoer
Filed 10/03/19First Name                Middle Name          Last Name
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     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim




              Dynamic Recovery Solutions                                                    Last 4 digits of account number         3606_
          Nonpriority Creditors Name
                                                                                            When was the debt incurred?             2016
              135 Interstate Blvd
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
              Greenville SC 29616
          City                                              State        ZIP Code           U    Contingent
                                                                                            U    tinliquidated
          Who incurred the debt? Check one.
                                                                                            U    Disputed
                  Debtor 1 only
              U   Debtor 2 Only                                                             Type of NONPRIORITY unsecured claim:
              U   Debtor 1 and Debtor 2 only
                                                                                            U    Student loans
              U   At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
              U Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                    4   Other. Specify    Credit Card
                  No
              U   Yes




                                                                                            Last 4 digits of account number          a 265 - -                        1920
              Financial Recovery Services
          Nonpriority Creditor's Name
                                                                                            When was the debt incurred?
                                                                                                                                    2016
              Po Box 385908
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          !JllitI
                                                                                            U    Contingent
                                                                                            U    Unliquidated
          Who incurred the debt? Check one.
                                                                                            U    Disputed
          16      Debtor 1 only
          U       Debtor 2 only                                                             Type of NONPRIOR1TY unsecured claim:
          U       Debtor 1 and Debtor 2 only
                                                                                            U    Student loans
          U       At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify    Credit Card
          6
          1       No
          U       Yes



                                                                                            Last 4 digits of account number          5716
              Gc Services Paternershio
          Nonpriority Creditor's Name
                                                                                            When was the debt incurred?              2016
              6330 Gulfton
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
              Houston TX 77071
          City                                              State        ZIP   Code         U    Contingent
                                                                                            U    Unliquidated
          Who incurred the debt? Check one.
                                                                                            0    Disputed
          16      Debtor 1 only
          U       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              U   Debtor I and Debtor 2 only
                                                                                            U    Student loans
              U   At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
              U   Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify    Credit Card

          U       Yes
     ueotor    1         1fiSLV                           nutty-ray                                              tase numoer   (ffiwn)______________________________________
Filed 10/03/19First Name                    Middle Name         Last Name
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     I1IW Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, number them beginning with 44 followed by 45 and so forth                                                                Total claim



              Kenosian&miele Lln Attorneys                                                   Last 4 digits of account number         .27 .
          Nonpriority Creditors Name
                                                                                             When was the debt incurred?              2017
              8581 Sana Monica Blvd 17
          Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Los Angeles CA 90069
          City                                               State          ZIP Code         U    Contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.
                                                                                             U    Disputed
                   Debtor 1 only
          U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          U        Debtor I and Debtor 2 Only
                                                                                             U    Student loans
          U        At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
          U        Check if this   claim is for a community debt
                                                                                             U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                     4   Other. Specify   Credit Card
           INo
          U Yes


                                                                                             Last 4 digits of account number              9277                         2625
              Midland Funding Lic
          Nonpriority Creditor's Name
                                                                                                                                      2014-2018
                                                                                             When was the debt incurred?
              Po Box 385908
          Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.

          city                                               .t5I(                           U    Contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.
                                                                                             U    Disputed
          ti       Debtor 1 only
          U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              U    Debtor 1: and Debtor 2 only
                                                                                             U    Student loans
              U    At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
              U    Check if this claim is for a community debt
                                                                                             U Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                     Other. Specify   Credit Card
                   No
              U    Yes


                                                                                                                                                                      $4251
                                                                                             Last 4 digits of account number              3686 -
              Midland Funding Lic
              Nonpriority Creditor's Name
                                                                                             When was the debt incurred?                  2016
              Po Box 385908
              Number          Street
                                                                                             As of the date you file, the claim is: Check all that apply.
              Minneapolis MN 55438-5908
          City                                               State          ZIP Code         U    Contingent
                                                                                             U    Unliquidated
          Who incurred the debt? Check one.
                                                                                             U    Disputed
          16       Debtor 1 only
              U    Debtor 2 Only                                                             Type of NONPRIORITY unsecured claim:
              U    Debtor 1 and Debtor 2 only
                                                                                             U    Student loans
              U    At least one of the debtors and another
                                                                                             U Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
              U    Check If this claim is for a community debt
                                                                                             U    Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                     Other. Specify   Credit Card
                   No
              U    Yes
    ueDtor   1          ftfIStY                       nwiy-ray                                                  t.ase numoer
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     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim



                                                                                            Last 4 digits of account number - - - -
             Midland Fundin2 Lic
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?             2015
             Po Box 385908
         Number             Street
                                                                                            As of the date    you file, the claim is: Check all that apply.
             Minnaepolis MN 55438-5908
         City                                               State          ZIP Code         Li   Contingent
                                                                                            Li   Unhiquidated
         Who incurred the debt? Check one.
                                                                                            Li   Disputed
         16       Debtor I only
         Li       Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
         U        Debtor I and Debtor 2 only
                                                                                            Li   Student loans
         U        At least one of the debtors and another
                                                                                            Li   Obligations arising Out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
         U        Check if this claim   is for a community debt
                                                                                            Li   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                     4   Other. speclfy_CrefttCard
                  No
         U        Yes




                                                                                            Last 4 digits of account number          1436 - -                         9124
             Midland Fundintt Lic
         Nonpriority Creditor's Name
                                                                                            When was the debt Incurred?
                                                                                                                                   2014-2017
             Po Box 385908717947718
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Mi.nnaepolls MN 55438-5908
         City                                               State          ZIP Code         Li   Contingent
                                                                                            Li   Unliquidated
         Who incurred the debt? Check one.
                                                                                            Li   Disputed
         16       Debtor I only
          U       Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
         U Debtor 1 and Debtor 2 only                                                       U    Student loans
         Li       At least one of the debtors and another
                                                                                            Li   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                         Other. Specify Credit Card
         16       No
         U Yes


                                                                                            Last 4 digits of account number        .9301.. -
             Midland Fundine Lic
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?              2016
             Po Box 385908 717947718
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Minnaepolis MN 55438-5908
         City                                               State          ZIP Code         U    Contingent
                                                                                            Li   Unliquidated
         Who incurred the debt? Check one.                                                  Li   Disputed
                  Debtor I only
             Li   Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
             Li   Debtor 1 and Debtor 2 Only
                                                                                            Li   Student loans
             Li   At least one of the debtors and another
                                                                                            Li   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
             Li   Check if this claim is for a community debt
                                                                                            Li   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify Credit Card
                  No
             Li   Yes
    ueotor   1          flIISLV                        holly-ray                                                 tase numoer
Filed 10/03/19
             rirsi Name                   Midas Name           Last Name
                                                                                      Case 19-14190                                                                            Doc 1
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             Midland Fundintr Lic                                                           Last 4 digits of account number             0_ -
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred? 142017
             Po Box 385908 717947718
         Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Minnaepolis MN 55438-5908
         City                                               State          ZIP Code         Li    Contingent
                                                                                            Li    Unliquidated
         Who incurred the debt Check one.
                                                                                            Li    Disputed
                  Debtor 1 only
         Li       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         Li       Debtor I and Debtor 2 only
                                                                                            U     Student loans
         Li       At least one of the debtors and another
                                                                                            Li    Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         Li       Check if this claim is for a community debt
                                                                                            U     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                     4    Other. Specify.ireditCard
                  No
          Li      Yes




             North Shore Aeenc
                                                                                            Last 4 digits of account number         ..7. - -                           58
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred? 2017
             270spagnoli Rd SuitellO
         Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Melville NY          11747
         city                                               State          ZIP Code         U     Contingent
                                                                                            U     Unliquidated
         Who incurred the debt? Check one.
                                                                                            U     Disputed
                  Debtor 1 only
          U       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          U       Debtor   I   and Debtor 2 only
                                                                                            Li    Student loans
          U       At least one of the debtors and another
                                                                                            U     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                            U     Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                         Other. Spectfy, Pnhlishers Clearing        House Not
                  No
          U       Yes



                                                                                            Last 4 digits of account number           1276 - -
             Paypal
          Nonpriotity Creditor's Name
                                                                                            When was the debt incurred?               2015
             Po Box 105658
          Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Atlanta GA 30348-5658
          City                                              State          ZlPCode          Li    Contingent
                                                                                            U     Unliquidated
          Who incurred the debt? Check one.
                                                                                            U     Disputed
                  Debtor I only
          U       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          U       Debtor I and Debtor 2 only
                                                                                            U     Student loans
          Li      At least one of the debtors and another
                                                                                            U     Obligations arising Out of a separation agreement or divorce that
                                                                                                  you did not report as priority daims
          U       Check if this claim is for a community debt
                                                                                            U     Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   lid   Other. Soecifv Credit    Card
                 1No
          Dyes
    uemor    1          IS.fISLV                      nualy-ray                                                 t..ase numoer
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             First Name                 Middle Name            Last Name
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                                                                                            Last 4 digits of account number               -5
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?              2018
             Pg&e P0 Box 997300
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Sacramento CA 95899-7300
         City                                               State          ZIP Code         U    Contingent
                                                                                            U    Unliquidated
         Who incurred the debt? Check one.                                                  U    Disputed
         16       Debtor I only
         U        Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         U        Debtor I and Debtor 2 only
                                                                                            U    Student loans
         U        At least one of the debtors and another
                                                                                            U Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim   is for a community debt
                                                                                            U Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                     4   Other. Specify   Utilities
                 INo
          U       Yes




                                                                                            Last 4 digits of account number              6531                         695
             Resureence Leeale Grou
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?
                                                                                                                                     Credit Card
             3000 Lakeside Drive Suite 309s
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Bamtockburn IL 60015
         City                                               State          ZIP Code         U    Contingent
                                                                                            U    Unliquidated
         Who incurred the debt? Check one.                                                  U    Disputed
         16       Debtor 1 only
          U       Debtor 2 only                                                             Type of NONPRIORITY unsecured                claim:
          U       Debtor I and Debtor 2 only
                                                                                            U    Student 'loans
          U       At least one of the debtors and another
                                                                                            U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          U       Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                        Other. Specify   Credit Card
                  No
          UYes



                                                                                            Last 4 digits of account number         _. 24_ - -
             Saint Aenes Medical Center
          Nonpriority Creditor's Name
                                                                                            When was the debt incurred?                  8/2019
             Herndon Ave 1303 E Herndon Ave
          Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
             Fresno CA 93620
          City                                              State          ZtP Code         U    Contingent
                                                                                            U    Unliquidated
          Who incurred the debt? Check one.                                                 U    Disputed
                  Debtor I only
             U    Debtor 2 only                                                             Type of NONPRIORITY unsecured Claim:
             U Debtor I and Debtor 2 only                                                   U    Student loans
             U At least one of the debtors and another                                      U    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
             U Check if this claim is for a community debt
                                                                                            U    Debts to pension or profit-sharing plans, and other similar debts
             Is the claim subject to offset?                                                     Other. Specify   Medical
                  No
             U    Yes
    vernor   1          zs,ritsly                     nuHy-rav                                                   tase numoer   (if
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             First Name                 Middle Name            Last Name
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                                                                                              Last 4 digits of account number 3242             -     -
             Svncb/walmart
         Nonpriority Creditor's Name
                                                                                              When was the debt incurred?            2016
             Po Box 965024
         Number              Street
                                                                                              As of the date you file, the claim is: Check all that apply.
             Orlando FL 32896
         City                                               State          ZIP Code           U   Contingent
                                                                                              U   Unliquidated
         Who incurred the debt? Check one.                                                    U   Disputed
                  Debtor 1 only
          U       Debtor 2 only                                                               Type   of NONPRIORITY unsecured claim:
          U       Debtor I and Debtor 2 only
                                                                                              U   Student loans
          U       At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
          U       Check if this claim   is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                      2 Other. Specify Credit Card
                 JNo
          U       Yes




                                                                                              Last 4 digits of account number 73 24                 -                  4251
             Synchrony Banldwahnart
          Nonpnority Creditor's Name
                                                                                              When was the debt incurred? 2016-2017
          170 West Election Road Suite12
          Number    Street
                                                                                              As of the date you file, the claim is: Check all that apply.

         City                                               State          ZIP Code           U   Contingent
                                                                                              U   Unliquidated
         Who incurred the debt? Check one.                                                    U   Disputed
                  Debtor I only
             U    Debtor 2 only                                                               Type   of NONPRIORITY unsecured claim:
             U    Debtor 1 and Debtor 2 only
                                                                                              U   Student loans
             U    At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
             U    Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                         Other. Specify Credit Card
                  No
             U    Yes



                                                                                              Last 4 digits of account number .2718 -
          Nonpriority Creditor's Name
                                                                                              When was the debt incurred?             2014
             P0 Box 37380
          Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
             Albuquerque NM 87176-7380
          City                                              State          ZIP   Code         U   contingent
                                                                                              U   Unliquidated
          Who incurred the debt? Check one.                                                   U   Disputed
                  Debtor 1 only
             U    Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             U    Debtor 1 and Debtor 2 only
                                                                                              U   Student loans
             U    At least one of the debtors and another
                                                                                              U   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
             U    Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
             Is the claim subject to offset?                                                      Other. Soecifv Mobile Phone Bill
                  No
             U    Yes
    uemor   1          1S.flSLy                        noisy-ray                                               tase number
Filed 10/03/19
             First Name                  Middle Name          Last Name
                                                                                     Case 19-14190                                                                           Doc 1
                      Your NONPRIORITY Unsecured Claims - Continuation Page



     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim




            Umfund Ccr LIc/resurence Lea                                                   Last 4 digits of account number ..31            _.     -                 $695
         Nonpriority Creditors Name
                                                                                           When was the debt incurred?             2017
            3000 Lakeside Drive Suite 309s
         Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
            Bannockburn IL 60015
         City                                              State          ZIP Code         U    Contingent
                                                                                           U    Unliquidated
         Who incurred the debt? Check one.                                                 U    Disputed
                 Debtor I only
          U      Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
          U      Debtor 1 and Debtor 2 Only
                                                                                           U    Student loans
          U      At least one of the debtors and another
                                                                                           U    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
          U      Check if this claim is for a community debt
                                                                                           U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   4   Other. Specify   Credit Card
         16      No
          U      Yes




                                                                                           Last 4 digits of account number          6040                             2754
            Unwired
          Noripriotity Creditor's Name
                                                                                           When was the debt incurred?
                                                                                                                                  2018
                                                                                                                                  --
            215 N Faibroock Ave Suite 203
          Number           Street
                                                                                           As of the date you file, the claim is: Check all that apply.
            Fresno CA 93711
         City                                              State          ZIP Code         U    Contingent
                                                                                           U    Unliquidated
          Who incurred the debt? Check one.
                                                                                           U    Disputed
         In      Debtor 1 only
         U       Debtor 2 only                                                             Type of NONPRIORITY unsecured             claim:
          U Debtor 1 and Debtor 2 only                                                     U    Student loans
          U At least one of the debtors and another                                        U    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
          U Check if this claim is for a community debt
                                                                                           U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                       Other. Specify   Cable
                 No
          U      Yes



                                                                                           Last 4 digits of account number          3006 - -
            Waste Management
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?              2018
            Waste Management/usa Waste Po Box 541065
          Number           Street
                                                                                           As of the date you file, the claim is: Check all that apply.
            Los Angeles CA 90054-1065
          City                                             State          ZIP Code         U    Contingent
                                                                                           U    Unliquidated
          Who incurred the debt? Check one.                                                U    Disputed
                 Debtor 1 only
          U      Debtor 2 only                                                             Type   of NONPRIORITY unsecured claim:
          U Debtor 1 and Debtor 2 only                                                     U    Student loans
          U At least one of the debtors and another                                        U    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
            U Check if this claim is for a community debt
                                                                                           U    Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                  Id   Other. Specify   Utilities Garbage
                 No
            13   Yes
     uernor   1                                                                              uase numoer   (if
Filed 10/03/19First Name        MiddN Name          Last Name
                                                                         Case 19-14190                                                          Doc 1
     Itfl         Add the Amounts for Each Type of Unsecured Claim



     6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
         Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                       Domestic support obligations
   I Total claims                                                                      $
     from Parti
                       Taxes and certain other debts you owe the
                       government
                                                                                       $_0

                       Claims for death or personal injury while you were
                       intoxicated

                       Other. Add all other priority unsecured claims.
                       Write that amount here.
                                                                                      +s   0



                       Total. Add tines 6a through 6d.
                                                                                       $ 41176




                                                                                       Total claim


                    61. Student loans
     Total claims                                                                       $_0
     from Part 2 6g. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                      claims

                       Debts to pension or profit-sharing plans, and other
                       similar debts


                       Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                  Si. + $ 259829



                      Total. Add lines 6f through 6i.                           6j.
                                                                                        $_259829
Filed 10/03/19                                                           Case 19-14190                                                                           Doc 1


     Debtor         Knsty                                          Holly-ray
                         First Name           Middle Name               Last Name

     Debtor 2
     (Spouse If flUng)   First Name           Middle Name               Last Name


     United States Bankruptcy Court for the: EASTERNJi5tr1cI of CALIFORNIA

     Case number
     (If known)                                                                                                                            i1   Check if this is an
                                                                                                                                                amended filing


   OfficialFormI 06G
   ScheduleC: _ExecutoryContractsandUnexpiredLeases                                                                                                      12/15

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
   additional pages, write your name and case number (if known).


          Do you have any executory contracts or unexpired leases?
          iNo. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          IYes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106NB).

          List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
          unexpired leases.



          Person or company with whom you have the contract or lease                            State what the contract or lease is for


   2.1V

          Name

          Number            Street




          Name

          Number            Street


                                          State     ZIP Code
    2.4
          Name

          Number            Street

                                          State     ZIP Code


          Name

          Number            Street

          City                            State     ZIP     Code
Filed 10/03/19                                                        Case 19-14190                                       Doc 1
   Debtor 1           Kristy                         Holly-ray                           Case number (if
                     Fret Name     Middte Name            Lasi Name



                     Additional Page if You Have More Contracts or Leases

            Person or company with whom you have the contract or lease                What the contract or lease is for

    2j
            Name


            Number        Street


            City                                 State   ZIP Code




            Name


            Number        Street


            City                                 State   ZIP Code

    281
    -j
            Name


            Number        Street


            City                                 State   ZIP Code


    2 -91
            Name


            Number        Street


            City                                 State   ZIP Code

        1-
    2.10

            Name


            Number        Street


            City                                 State   ZIP Code


    2       ______________________

            Name


            Number        Street


            City                                 State   ZIP Code


    2.121
    -J
            Name


            Number        Street


            City                                 State   ZIP Code


    2.13'

            Name


            Number        Street


            City                                 State   ZIP Code
Filed 10/03/19                                                                         Case 19-14190                                                                           Doc 1

    Debtor     1        Kristy                                                    Holly-ray
                             First Name                     Middle Name                Last Name

    Debtor 2
    (Spouse, if tiling) First Name                          Middle Name                Last Name


    United States Bankruptcy Court for theEASTERN District of CALIFORNIA

    Case number
     (If known)
                                                                                                                                                         U   Check if this is an
                                                                                                                                                             amended tiling

   Official Form I 06H
   Schedule H: Your Codebtors                                                                                                                                           ivis
   Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married people
   are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
   and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
   case number (if known). Answer every question.


        Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                   No
           U   Yes
        Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
        Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         U         No. Go to line 3.
         Li    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                   U    No
                   U    Yes. In which community state or territory did you live?                               . Fill in the name and current address of that person.



                        Name of your spouse, former spouse, or legal equivalent



                        Number              Street



                        City                                              State                    ZIP Code


        In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
         shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
         Schedule D (Official Form I 06D), Schedule ElF (Official Form I O6EIF), or Schedule G (Official Form 106G). Use Schedule D,
         Schedule E/F or Schedule 0 to fill out Column 2.

           Column 1: Your codebtor                                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                                       Check all schedules that apply:

    3.11
             Name
                                                                                                                        U   Schedule D, line -
                                                                                                                        U   Schedule ElF, line
             Number                Street                                                                               U   Schedule 0, line -

             City                                                                                   ZIP Code

    3.21
             Name
                                                                                                                        U   Schedule D, line -
                                                                                                                        U   Schedule E/F, line
             Number                Street            -                                                                  U   Schedule C, line -



    3.31
           Name
                                                                                                                        U   Schedule D, line -
                                                                                                                        U   Schedule ElF, line
              Number               Street                                                                               U   Schedule G, line
FiledDebtor
       10/03/19
            I Kristy                           H011y-ray           Case 19-14190    Case number                                           Doc 1
                  First Name     Middle Name        Last Name




                  Additional Page to List More Codebtors


         Column 1 Your codebtor                                                          Column 2 The creditor to whom you owe the debt

                                                                                         Check all schedules that apply


         Name
                                                                                          U   Schedule D, line
                                                                                          U   Schedule E/F, line

         Number         Street                                                            U   Schedule G, line


         City                                              State         ZtPCode



         Name
                                                                                         U    Schedule 0. line
                                                                                         U    Schedule ElF, line

         Number         Street                                                           U    Schedule G, line


         cit y                                             State         ZIP Code


     -
         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule ElF, line
         Number         Street                                                           U    Schedule G, line


         City                                              State         ZIP Code




         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule ElF, line
         Number         Street                                                           U    Schedule G, line      -




         City                                            Stale           ZIP Code



         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule ElF, line
         Number         Street                                                           U    Schedule G, line


         City                                            State           ZIP Code



         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule E/F, line

         Number         Street                                                           U    Schedule G, line


         City                                              State         ZIP Code



         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule E/F, line

         Number         Street                                                           U    Schedule G, line


                                                           Slate         ZIP Code



         Name
                                                                                         U    Schedule D, line
                                                                                         U    Schedule ElF, line

         Number         Street                                                           U    Schedule G, line


         City                                              Slate         ZIP Code
Filed 10/03/19                                                                  Case 19-14190                                                                           Doc 1


    Debtor I
                     Kristy                                                  Holly-ray
                       First Name               Midthe Name                     Last Name

    Debtor 2
    (Spouse, it tiling) Fast Name               Middle Name                     Last Name


    United States Bankruptcy Court for the:   EASTERN         District of
                                                                            CALIFORNIA

    Case number                                                                                                 Check if this is:
     (It known)
                                                                                                                 U An amended filing
                                                                                                                 U A supplement showing postpetition chapter 13
                                                                                                                      income as of the following date:
   Official Form 1061                                                                                                 MM / DD/ YYYY

   Schedule I: Your Income                                                                                                                                      12/15

   Be as complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space Is needed, attach a
   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                     Describe Employment


    I. Fill in your employment
       information.                                                                   Debtor I                                   Debtor 2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional           Employment status                           Employed                                      Employed
       employers.                                                                  10 Not employed                                      Not employed

       Include part-time, seasonal, or
       self-employed work.
                                              Occupation
                                                                                  homemaker, mother mi
       Occupation may include student
       or homemaker, if it applies.
                                              Employer's name


                                              Employer's address
                                                                                   Number Street                               Number Street




                                                                                   City              State ZIP Code            City                    State ZIP Code

                                              How long employed there?


                      Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. include your non-filing
       spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                            For Debtor I        For Debtor 2 or
                                                                                                                                non-filing spouse
         Ust monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage would be.                 2.
                                                                                                                                    $

         Estimate and list monthly overtime pay.                                                     3. --$O


         Calculate gross income. Add line 2 + line 3.                                                                               $
Filed 10/03/19                                                                               Case 19-14190                                                                             Doc 1
   Debtor 1          Kristy                                Holly-ray                                                               Case number
                     First Name          Middle Name               Last Name



                                                                                                                               For Debtor I          For Debtor 2 or
                                                                                                                                                     non-f ilinQsDouse

       Copyline 4 here ............................................................................................... 4 4.    $_0                       $____________

    5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                                                              5a.     $0                        $_____________
        5b. Mandatory contributions for retirement plans                                                               5b.
        5c. Voluntary contributions for retirement plans                                                               5c..    $0                        $____________
        5d. Required repayments of retirement fund loans                                                               5d.
        5e. Insurance                                                                                                          $0                        $____________
              Domestic support obligations                                                                             5f.     $0                        $____________

        5g. Union dues                                                                                                 5g.                               $____________

        5h. Other deductions. Specify:                                                                             5h. +$ 0                          +   $___________

        Add the payroll deductions. Add lines 5a + 5b +5c + 5d + 5e +5f + 5g + 5h. 6.                                          $_p                       $


        Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.     $0                        $

       List all other income regularly received:
              Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              monthly net income.                                                                                       8a.
                                                                                                                               $0                        $
              Interest and dividends                                                                                   8b.     $0                        $
        Bc. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                     8c.
                                                                                                                               $0                        $
              Unemployment compensation                                                                                8d.     $0                        $
              Social Security                                                                                          8e.     $ 1610                    $
              Other government assistance that you regularly receive
              Include cash assistance and the value (it known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
                                                                                                                               $                         $_____________
              Specify: 0                                                                                               8f.

              Pension or retirement income                                                                              8g.    $_0                       $____________

              Other monthly income. Specify: 759 stipend for adopted s 0                                                8h. + $ 0                    + $____________

    a Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                              9.

       Calculate monthly income. Add line 7 + line 9.                                                                                                                      - _____________
                                                                                                                               $ 1610            +       $____________ - $1610
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10.

       State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify: 0                                                                                                                                                    11. +   $ 0

       Add the amount in the last column of line 10 to the amount in line 11.The result is the combined monthly income.
       Write that amount on the Summa,y of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.     $_1610
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
        Do you expect an increase or decrease within the year after you file this form?
        rQ    No.
        JI    Yes. Explain:         irs debits my income from my social security 241.9
Filed 10/03/19                                                                         Case 19-14190                                                                                Doc 1


      Debtor    1
                            Kristy                                                  Holly-ray
                            Fast Name                  Middte Name                     last Name                         Check if this is:
      Debtor 2
      (Spouse, it tiling)    First Name                Middte Name                     t.ast Name
                                                                                                                          1 An amended filing
                                                                                   CALIFORNIA                            Ll A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the:     EASTERN            District of                                             expenses as of the following date:
      Case number                                                                                                            MM / DD/ YYYY
       (If known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                               12/15

    Be as complete and accurate as possible. It two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

                            Describe Your Household

       Is this a joint case?

        j No. Go to line 2.
       EYes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 1 06J-2, Expenses for Separate Household of Debtor 2.

       Do you have dependents?                     [   i No
                                                                                                      Dependent's relationship to              Dependent's      Does dependent live
                                                                                                      Debtor I or Debtor 2
       Do not list Debtor 1 and
       Debtor 2.
                                                   JJ Yes. Fill out this information for
                                                      each dependent ..........................
                                                                                                                                               age              with you?


       Do not state the dependents'                                                                   son                                      12              P1 No
       names.                                                                                                                                                       Yes

                                                                                                       brother with stage4                     53               P1 Yes
                                                                                                                                                                   No

                                                                                                                                                                j
                                                                                                                                                                  No
                                                                                                                                                                JYes

                                                                                                                                                                    No

                                                                                                                                                               19   Yes

                                                                                                                                                                    No
                                                                                                                                                                    Yes

       Do your expenses include
                                                         No
       expenses of people other than               h
       yourself and your dependents?               I   J Yes
   iflIW              Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the value of
    such assistance and have included it on Schedule I: Your Income (Official Form 1I.)                                                             Your expenses

        The rental or home ownership expenses for your residence. Include first mortgage payments and                                                 1756
        any rent for the ground or lot.                                                                                                  4.         $______________________

         If not included in line 4:
         4a.        Real estate taxes                                                                                                    4a.        0
         4b.        Property, homeowner's, or renter's insurance                                                                                    $_0
                    Home maintenance, repair, and upkeep expenses                                                                        4c.        $_50
         4d.        Homeowner's association or condominium dues                                                                          4d.        $_0

  flffiriral rttrm ItII,I                                                     Sehc,4,iI    .1 Vseur   ynncne                                                             rtrm 4
Filed 10/03/19                                                          Case 19-14190                                                              Doc 1
    Debtor 1        Knsty                        Holly-ray                                        Case number tir
                    F,rsl Name     Middle Name        Last Name




                                                                                                                           Your expenses

                                                                                                                           $0
    5. Additional mortgage payments for your residence, such as home equity loans                                   5.


    6. Utilities:

               Electricity, heat, natural gas                                                                              $
                                                                                                                               700
               Water, sewer, garbage collection

         Sc. Telephone, cell phone, Internet, satellite, and cable services                                                $ 100
         6d.   Other. Specify: gas 50

    7.   Food and housekeeping supplies                                                                              .     $ 250

    8.   Childcare and children's education costs                                                                          $

    9. Clothing, laundry, and dry cleaning                                                                                 $50
   10.   Personal care products and services                                                                                   25
   11.   Medical and dental expenses                                                                                       $0
   12.   Transportation. Include gas, maintenance, bus or train fare.                                                          50
                                                                                                                           $
         Do not include car payments.

   13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                $0
   14.   Charitable contributions and religious donations

   15.   insurance.
         Do not include insurance deducted from your pay or included in lines 4 or 20.

               Life insurance                                                                                              $0
               Health insurance                                                                                            $ 60
               Vehicle insurance                                                                                           $ 50
               Other insurance. Specify:                                                                                   $0

   16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                               0
         Specify:                                                                                                   16.

   17.   Installment or lease payments:

         1 7a. Car payments for Vehicle 1                                                                                  $ 0
               Car payments for Vehicle 2                                                                                  $

               Other. Specify:                                                                                             $0
         1 7d. Other. Specify:                                                                                             $0

         Your payments of alimony, maintenance, and support that you did not report as deducted from
         your pay on line 5, Schedule I, Your Income (Official Form 1061).                                           18.


         Other payments you make to support others who do not live with you.

         Specify:                                                                                                    19.

         Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1 Your Income.
                                                                                                                           $
               Mortgages on other property
                                                                                                                           $
               Real estate taxes
                                                                                                                           $
               Property, homeowner's, or renter's insurance

               Maintenance, repair, and upkeep expenses                                                                    $ 0
               Homeowner's association or condominium dues                                                                 $ 0


   ('ffiriI rirm ifl.i                                            thorIu,Ia .1- Vn,.r Pynarocac                                            r,mr,
Filed 10/03/19                                                             Case 19-14190                                                 Doc 1
    Debtor   i        Kristy                     Holly-ray                                         Case number
                      flrst Name    Mdd1e Name         I.ast Name




   21. Other. Specify:                                                                                           21. +$°


  22. Calculate your monthly expenses.

                 Add lines 4 through 21.                                                                                 3091

                 Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     $
                 Add line 22a and 22b. The result is your monthly expenses.                                          $



   23. Calculate your monthly net income.
                                                                                                                      $ 1610
                 Copy line 12 (your combined monthly income) from Schedule I.

                 Copy your monthly expenses from line 22c above.                                                    - $_3091

                 Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                               $_- 1481




   24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         ]No.
         jYes.          Explain here:
                          wells iargo is modifying my home the difference will be a + of 140 prr month




   Offirint Irrm 1(.I                                               qr,bdI,lQ .1. Vr.ir Pvnnaac                                  r,mrl
Filed 10/03/19                                                                      Case 19-14190                                                                 Doc 1


                       Kristy                                                 Holly-ray
     Debtor 1
                         FirstName               MiddleName                         LastName

     Debtor 2
     (Spouse, if fifing) Fast Name               Middle Name                        Last Name


     United States Bankruptcy Court for the:   EASTERN         District of   CALIFORNIA

     Case number
     (If known)                                                                                                                           U Check if this is an
                                                                                                                                             amended fihng




   Official Form 107
   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                         04/19

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
   number (if known). Answer every question.


   •ni               Give Details About Your Marital Status and Where You Lived Before


         What is your current marital status?

         [ilMamed
         [jNot married


         During the last 3 years, have you lived anywhere other than where you live now?

                No
                Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor t                                                    Dates Debtor I Debtor 2:                                          Dates Debtor 2
                                                                             lived there                                                       lived there


                                                                                                U   Same as Debtor 1                          U   Same as Debtor 1

                                                                             From                                                                 From
                  Number             Street                                                         Number Street
                                                                             To                                                                   To



                  City                         State ZIP Code                                       City               State ZIP Code


                                                                                                U   Same as Debtor 1                          U   Same as Debtor 1


                                                                             From                                                                 From
                  Number             Street                                                         Number Street
                                                                             To                                                                   To



                  City                         State ZIP Code                                       City               State   ZIP Code


         Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
          states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         Ul No
         FYes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                     Explain the Sources of Your Income

  Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
Filed 10/03/19                                                                  Case 19-14190                                                                                   Doc 1
   Debtor 1            Knsty                        Holly-ray                                                   Case number    (!!lcnown)___________________________________
                      Arst Name       Mc5e Name          t,ast Name




    4.   DId you have any income from employment or from operating a business during this year or the two previous calendar years?
             Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
             If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         1      N
                Yes. Fill in the details.

                                                                Debtor I                                                  Debtor 2

                                                                Sources of income            Gross income                 Sources of Income           Gross Income
                                                                Check all that apply.        (before deductions and       Check all that apply.       (before deductions and
                                                                                             exclusions)                                              exclusions)

                 From January 1 of current year until            U    wages commissions,                                   U   wages, commissions,
                                                                      bonuses, tips              $_ 0                          bonuses, tips          $_o
                 the date you filed for bankruptcy:
                                                                 U    Operating a business                                 U   Operating a business


                  For last calendar year:                        U    wages, commissions.                                  U   Wages, commissions,
                                                                      bonuses, tips              $ 0                           bonuses, tips          $ 0
                  (January 1 to December31,                  )U       Operating a business                                 U   Operating a business
                                                  YYYY



                  For the calendar year before that:             U    Wages, commissions.                                  U   Wages, commissions,
                                                                      bonuses, tips                                            bonuses, tips
                                                                                                 $ 0                                                  $__o
                  (January 1 to December 31,                          Operating a business                                 U   Operating a business
                                                   YyY



     5. Did you receive any other income during this year or the two previous calendar years?
        Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
        unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
             gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

             List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               jNo
               ]Yes. Fill in the details.
                                                              [Debtor I                                                   LDebtoT 2

                                                                 Sources of Income               Gross income from          Sources of Income          Gross Income from
                                                                 Describe below,                 each source                Describe below.            each source
                                                                                                 (before deductions and                                (before deductions and
                                                                                                 exdusions)                                            exclusions)



                    From January 1 of current year until                                     $ 0                                                      $ 0
                    the date you filed for bankruptcy:
                                                                                             $                                                        $
                                                                                             $                                                        $


                    For last calendar year:                                                  $ 0                                                      $ 0

                    (January ito December 31,                                                $                                                        $
                                                  YYYY
                                                                                             $



                    For the calendar year before that:                                       $ 0                                                      $ 0

                    (January ito December 31,                                                $                                                        $
                                                  YYYY
                                                                                             $                                                        $




   Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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   Debtor 1        Kristy                            Holly-ray                                            Case number ieia_________________________________
                  First Name       Middre Name               t.asr Name




   •nw            List Certain Payments You Made Before You Filed for Bankruptcy



    6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

        iui No.   Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  'incurred by an individual primarily for a personal, family, or household purpose.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                  U    No. Go to line 7.

                  U    Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                  * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

              Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                             Dates of      Total amount paid       Amount you still owe   Was this payment for...
                                                                             payment



                         Creditor's Name
                                                                                           $                                              U Mortgage
                                                                                                                                          U Car
                         Number Street                                                                                                    U Credit card
                                                                                                                                          U Loan repayment
                                                                                                                                          U Suppliers or vendors
                         City                    State            ZIP Code                                                                U Other


                                                                                                                                          U Mortgage
                         Creditor's Name
                                                                                                                                          U Car
                         Number Street                                                                                                    U Credit card
                                                                                                                                          U Loanrepayment
                                                                                                                                          U Suppliers or vendors
                         City                    State            ZIP Code
                                                                                                                                          U Other



                                                                                                                                          U Mortgage
                         Creditor's Name
                                                                                                                                          U Car
                         Number Street
                                                                                                                                          U Credit card
                                                                                                                                          U Loan repayment
                                                                                                                                          U Suppliers or vendors
                         City                    State            ZIP Code
                                                                                                                                          U Other



   Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 3
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   Debtor I           Kristy                      Holly-ray                                           Case number   naiei_________________________________
                      flrsl Name   Middle Name            last Name




        Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
        Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
        corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
        agent, including one for a business you operate as a sole propnetor. 11 U.S.C. § 101. Include payments for domestic support obligations,
        such as child support and alimony.

       [j No
       rfti Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still Reason for this payment
                                                                        payment       paid              owe
                                                                                                                        -




               Insiders Name



               Number Street




               city                              State    ZIP Code




               Insiders Name


               Number Street




               City                              State    ZIP Code                                                      I
                                                                                                                            -----------------.----.- ------------




        Within 1 year before you flied for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
        an insider?
        Include payments on debts guaranteed or cosigned by an insider.

              No
         U    Yes. List all payments that benefited an insider.
                                                                        Dates of       lotal amount      Amount you still Reason for this payment
                                                                        payment        paid              owe


                                                                                      $_____
               Insiders Name



               Number Street




               City                              State    ZIP Code




                Insiders Name



                Number Street




                City                              State    ZIP Code




    Official Form 107                                Statement of Financial Affairs for individuals Filing for Bankruptcy                                    page 4
Filed 10/03/19                                                                      Case 19-14190                                                                                       Doc 1
   Debtor 1         Kristy                             Holly-ray                                                 Case number   (if
                   First Name            Midee Name            Last Name




                   Identify Legal Actions, Repossessions, and Foreclosures

        Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
        List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
        and contract disputes.

              No
              Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                        Status of the case


               Case title                                                                                 Court Name                                              U   Pending

                                                                                                                                                                  U   On appeal

                                                                                                          Number Street                                           U   Concluded

               Case number
                                                                                                          City                       Stale           ZIP Code




               Case title                                                                                 Court Name                                              U   Pending

                                                                                                                                                                  U   On appeal
                                                                                                          Number Street                                           U   Concluded

               Case number
                                                                                                          City                       Slate           ZIP Code


        Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

        rgd        Gotolirteli.
              Yes. Fill in the information below.

                                                                                Describe the property                                                 Date      Value of the property



                                                                                                                                                                $_____
                    Creditor's Name



                    Number      Street                                          Explain what happened

                                                                                U    Property was repossessed.
                                                                                U    Property was foreclosed.
                                                                                U    Property was garnished.
                    City                              State   ZIP Code          01   Property was attached, seized, or levied.

                                                                                Describe the property                                                 Date       Value of the propert




                    Creditor's Name
                                                                                                                                             .   I
                    Number      Street
                                                                                Explain what happened

                                                                                U    Property was repossessed.
                                                                                U    Property was foreclosed.

                    City                              State ZIP Code
                                                                                U    Property was garnished.
                                                                                U    Property was attached, seized, or levied.



    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 5
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   Dthtor 1          Kristy                         Holly-ray                                               Case number (ff)______________________________
                     Fest Name      Middle Name           Last Name




    ii. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?

              No
        Li    Yes. Fill in the details.

                                                                  Describe the action the creditor took                      Date action      Amount
                                                                                                                             was taken
              Creditor'sName



              Number Street




              City                           State ZiP Code       Last 4 digits of account number: XX)(X—       -   -   -


        Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
        creditors, a court-appointed receiver, a custodian, or another official?

              No
        U     Yes

   •fliL List Certain Gifts and Contributions


        Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

              No
        U     Yes. Fill in the details for each gift.


               Gifts with a total value of more than $600         Describe the gifts                                         Dates you gave        Value
               per person                                                                                                    the gifts



                                                                                                                                               $
              Person to Whom You Gave the


                                                                                                                                               $


              Number Street



                                                   ZIP Code


              Person's relationship to you


              Gifts with a total value of more than $600          Describe the gifts                                         Dates you gave     Value
              per person                                                                                                     the gifts



                                                                                                                                               $
              Person to Whom You Gave the Gift


                                                                                                                                               $



              Number Street



              City                           State ZIP Code


              Person's relationship to you


   Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
Filed 10/03/19                                                                            Case 19-14190                                                                                Doc 1
   Debtor I               Kristy                          Holly-ray                                                     Case number    (if   known)______________________________
                          First Name     MidSe Name                 Last Name




    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

              No
        U     Yes. Fill in the details for each gift or contribution.

                   Gifts or contrIbutions to charities                     Describe what you contributed                                           Date you        Value
                   that total more than $600                                                                                                       contributed




                                                                                                                                                                   $
              Charitys Name


                                                                                                                                                                   $



              Number Street




              City               State        ZIP Code




                          List Certain Losses


        Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

          mi No
        iYes. Fill in the details.

                   Describe the property you lost and                       Describe any insurance coverage for the loss                           Date of your    Value of property
                   how the loss occurred                                                                                                           lOSs            lost
                                                                            Include the amount that insurance has paid. List pending insurance
               •                                                            claims on line 33 of Schedule A/B: Pwperly.




                      List Certain Payments or Transfers

        Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
        you consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit Counseling agencies for services required in your bankruptcy.

              No
       fU Yes. Fill in the details.
                                                                            Description and value of any property transferred                      Date payment or Amount of payment
                                                                                                                                                   transfer was
                   Person Who Was Paid                                                                                                             made


                   Number Street
                                                                                                                                                                    $__




                   City                          State   ZIP Code



                   Email or website address


                   Person Who Made the Payment, if Not You



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   Debtor 1          Kristy                        Holly-ray                                                    Case number ir
                     First Name     Meldie Name              Last Name




                                                                      Description and value of any property transferred                  Date payment or    Amount of
                                                                                                                                         transfer was made payment


              Person Who Was Paid
                                                                                                                                                             $
              Number Street

                                                                                                                                                             $



              City                       State    ZIP Code




              Email or website address



              Person Who Made the Payment, if Not You


        Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

       [Uf No
        U Yes. Fill in the details.
                                                                      Description and value of any property transferred                  Date payment or Amount of payment
                                                                                                                                         transfer was
                                                                                                                                         made
              Person Who Was Paid                                 r                                                                  -
              Number Street




              City                       State    ZIP Code

        Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
        J]No
           Yes. Fill in the details.

                                                                      Description and value of property         Describe any property or payments received       Date transfer
                                                                      transferred                               or debts paid in exchange                        was made

              Person Who Received Transfer



              Number Street




              City                       State    ZIP Code


              Person's ielationship to you


              Person Who Received Transfer



              Number Street




              City                       State    ZIP Code

              Person's relationship to you

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   Debtor I               Kristy                        Holly-ray                                                    Case number
                          First Name     Middle Name              Last Name




        Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
        are a beneficiary? (These are often called asset-protection devices.)

                  No
        U         Yes. Fill in the details.

                                                                          Description and value of the property transferred                                        Date transfer
                                                                                                                                                                   was made



                  Name of trust




   •.nii:u             List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

        Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
        closed, sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
        brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
        11717-1
        IWIJ No
        IYes. Fill in the details.

                                                                              Last 4 digIts of account number   Type of account or       Date account was       Last balance before
                                                                                                                instrument               closed, sold, moved,   closing or transfer
                                                                                                                                         or transferred


                   Name of Financial Institution
                                                                              XX)(X—      -     -     -            Checking                          $___________

                   Number       Street
                                                                                                                I] Savings
                                                                                                                U Money market
                                                                                                                U Brokerage
                   City                       State    ZIP Code
                                                                                                                U Other_________

                                                                              XXXX—       -     -     -         U Checking
                   Name of Financial Institution
                                                                                                                U savings
                   Number       Street                                                                          U Money market
                                                                                                                U Brokerage
                                                                                                                U Other_________
                   City                       State    ZIP Code


        Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
        securities, cash, or other valuables?
           No
                  Yes. Fill in the details.
                                                                              Who else had access to It?                   Describe the contents                       Do you still
                                                                                                                                                                       have it?

                                                                                                                                                                       U   No
                   Name of Financial Institution                          Name
                                                                                                                                                                           Yes


                   Number Street                                          Number Street



                                                                          City         State      ZIP Code

                   City                       State    ZIP Code
                                                                                                                              -- --------------------_____

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   Debtor 1             Kristy                            Holly-ray                                                          Case number   (if
                        First Name       MNcile Name                Last Name




          Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
               No
          U    Yes. Fill in the details.
                                                                            Who else has or had access to it?                     Describe the contents        Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
                         of Storage Facility                                Name                                                                                UYeS
                                                                                                                                I /

                 Number Street                                              Number Street


                                                                            CityState ZIP Code

                 City                           State    ZIP Code               -



                          Identify Property You Hold or Control for Someone Else

           Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
           or hold In trust for someone.
          []No
             Yes. Fill in the details.
                                                                           Where is the property?                                 Describe the property    Value


                 Owners Name                                                                                                                               $
                                                                          Number
                 Number Street




                                                                          C ity                         State     ZIP Code
                 City                           State    ZIP Code


                          Give Details About Environmental Information

     For the purpose of Part 10, the following definitions apply:
     13    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
           hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
           including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     •     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
           utilize it or used to own, operate, or utilize it, Including disposal sites.

     •     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
           substance, hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

          Has any governmental unit notified you that you may be liable or potentially liable under or In violation of an environmental law?

                No
           U    Yes. Fill in the details.

                                                                           Governmental unit                          Environmental law, If you know it   Date of notice



                Name of site                                              Governmental unIt


                Number Street                                             Number Street


                                                                          City                   State ZIP Code



                City                           State    ZIP Code




   Official Form 107                                        Statement of Financial Affairs for individuals Filing for Bankruptcy                               page 10
Filed 10/03/19                                                                              Case 19-14190                                                                                      Doc 1
   Debtor 1           Kristy                         Holly-ray                                                               Case number
                      First Name      Middle Name              Lasi Name




        Have you notified any governmental unit of any release of hazardous material?

              No
        U     Yes. Fill in the details.
                                                                         Governmental unit                               Environmental law, if you know it                    Date of notice




               Name of site                                          Governmental unit


               Number        Street                                  Number        Street



                                                                     City                     State    ZIP Code


               City                        State    ZIP Code


        Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

              No
        U     Yes. Fill in the details.
                                                                                                                                                                               Status of the
                                                                          Court or agency                                     Nature of the case                 -
                                                                                                                                                                               case

              Case title_______________________________
                                                                          Court Name
                                                                                                                                                                               U   Pending

                                                                                                                                                                               U   On appeal

                                                                          Number     Street                                                                                    U   Concluded


              Case number                                                  City                       State   ZIP Code



   •tI1I                 Give Details About Your Business or Connections to Any Business

        Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              o    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              U    A member of a limited liability company (LLC) or limited liability partnership (LLP)
              O    A partner in a partnership
              :0   An officer, director, or managing executive of a corporation

              U    An owner of at least 5% of the voting or equity securities of a corporation

        EJ No. None of the above applies. Go to Part 12.
        [ti] Yes. Check all that apply above and fill in the details below for each business.
                                                                           Describe the nature of the business                               Employer Identification number
                                                                                     ________                     _________                  Do not include Social Security number or lTlN.
                Business Name

                                                                                                                                             E1N:            -
                Number Street                                        L_
                                                                         • Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                             From                    To
               City                        State    ZIP Code         i

                                                                           Describe the nature of the business                               Employer Identification number
                                                                                                                                        •    Do not include Social Security number or ITIN.
                Business Name

                                                                                                                                             ElN:_-
                Number Street
                                                                           Name of accountant or bookkeeper                                  Dates business existed



                                                                                                                                             From                    To
                City -                     State    ZIP Code


   Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                        page 11
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   Debtor I            Kristy                      Holly-ray                                                      Case number
                      First Name   Middle Name              Last Name




                                                                                                                                Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                                Do not Include Social Security number or ITIN.
               Business Name



               Number Stmet
                                                                    Name of accountant or bookkeeper                            Dates business existed




                                                                                                                                From                To
               City                      State   ZIP Code

                                                                  ----------------------------------




    28. Within 2 years before you filed for bankruptcy, did you give a flnancial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

              No
        U     Yes. Fill in the details below.                                         -

                                                                        Date issued




               Name                                                     MMIODIYYVY



               Number Street




                                         State ZIP Code




                      Sign Below


          I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
          answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
          in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                      x
                                                                                          Signature of Debtor 2


               Date                 II                                                    Date

          Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy ( Official Form 107)?

         FIX    No
          U     Yes



          Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
          UNo
          U Yes. Name of person                                                                                        . Attach the Bankruptcy Petition !Feparer's Notice,
                                                                                                                         Declaration, and Signature (Official Form 119).




   Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                        -                     page 12
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                    Kristy                                                    Holly-ray
  Debtor I
                      First Name                 Mide Name                       Last Name

  Debtor 2
  (Spouse, if filing) First Name                 Midste Name                     Last Name


  United States Bankruptcy Court for the:
                                              EASTERN          District of
                                                                             CALIFORNIA

  Case number                                                                                                                                            U     Check if this is an
  (if known)                                                                                                                                                   amended filing




    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                                        12115

    If you are an individual filing under chapter 7, you must fill out this form if:
    • creditors have claims secured by your property, or
    • you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
    whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
    if two married people are filing together in a joint case, both are equally responsible for supplying correct information.
    Both debtors must sign and date the form.
    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known).

                       List Your Creditors Who Have Secured Claims

      1. For any creditors that you listed in Part I of Schedule D. Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
          information below.

               Identify the creditor and the property that is collateral                         What do you intend to do with the property that     Did you claim the property
                                                                                                 secures a debt?                                     as exempt on Schedule C?

            Creditor's                                                                                    iSurrender the property.

                                                                                                                                                     Bo
            name:
                                                                                             101Retain the property and redeem it.                        es
            Description of
            property                                                                         ERetain the property and enter into a
            securing debt:                                                                      Reaffirmation Agreement.
                                                                                             iRetain the property and [explain]: -



            Creditor's                                                                       IU           Surrender the property.                .   flNo
            name:
                                                                                                      :
                                                                                                          Retain the property and redeem it.
            Description of                                                                                                                                 s
            property                                                                         [•U          Retain the property and enter into a
            securing debt:                                                                                Reaffirmation Agreement.
                                                                                                 Q        Retain the property and [explain]:



            Creditor's                                                                       1U. Surrender the property.
            name:                             .....                                    ..
                                          .
                                                                                             FU Retain the property and redeem it.
            Description of                                                                                                                           Bes
            property                                                                                      Retain the property and enter into a
            securing debt:                                                                                Reaffirmation Agreement.
                                                                                                          Retain the property and [explain]:



            Creditor's
            name:
                                                                                             IQ Surrender the property.                                 No
                                                                                             FQ Retain the property and redeem it.                   Ees
            Description of
            property                                                                         [    .       Retain the prope   and enter into a
            securing debt:                                                                                Reaffirmation Agreement.
                                                                                             [Q           Retain the property and [explain]:
Filed 10/03/19Kristy                                 Holly-ray
                                                                           Case 19-14190                                                                  Doc 1
    Debtor 1                                                                                      Case number (if known)
                    First Name     Middle Name            Last Name




   •IW              List Your Unexpired Personal Property Leases

      For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
      fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
      ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

           Describe your unexpired personal property leases                                                                 Will the lease be assumed?

          Lessor's name:                                                                                                   PJJNo
                                                                                                                           [UjYes
          Description of leased
          property:


           Lessor's name:                                                                                                     No
                                                                                                                           [ives
           Description of leased
           property:


           Lessor's name:

           Description of leased                                                                                           i][Yes
           property:


           Lessor's name:                                                                                                  [No
                                                 -                -                                                        [Dives
           Description of leased
           property:


           Lessor's name:                        -                                                                           }Jo
                                                                                                                           [Dives
           Description of leased
           property:


           Lessor's name:                                                                                                  JNo
                                                                                                                              Yes
           Description of leased
           property:


           Lessor's name:

                                                                                                    -                      Uyes
           Description of leased                                      -     -


           property:




    •ni              Sign Below



         Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
         personal property that is subject to an unexpired lease.



       XM4
           SignttI oDebtor1                  I                            Signature of Debtor 2


           Date     f/?1
                  MM! OD / YYYY
                                                                          Date
                                                                                 MMI 00/ VYVY
Filed 10/03/19                                                           Case 19-14190                                                                                Doc 1
                      Kristy                                         Holly-ray
    Debtor 1
                        First Name              Mstd!e Name             Last Name

    Debtor 2
                                                                                                       IR 1. There is no presumption of abuse.
    (Spouse, if filing) First Name              Middle Name             Last Name                      [j 2. The calculation to determine if a presumption of
                                                                CALIFORNIA                                     abuse applies will be made under Chapter 7
    United States Bankruptcy Court for the: EASTERN District of                                                Means Test Calculation (Official Form I 22A-2).
    Case number
     (If known)
                                                                                                       Jj 3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.


                                                                                                        U    Check if this is an amended filing


   Official• Form 1 22A-1
   Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/15

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
   space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
   additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
   do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
   Abuse Under § 707(b)(2) (Official Form 122A-1 Supp) with this form.

                    Calculate Your Current Monthly Income

        What is your marital and filing status? Check one only.
         id    Not married. Fill out Column A, lines 2-11.
         U     Married and your spouse :j5 filing with you. Fill Out both Columns A and B, lines 2-11.

         U     Married and your spouse is NOT filing with you. You and your spouse are:

               U      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               U     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(1 OA). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
         income from that property in one column only. It you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor I             Debtor 2 or
                                                                                                                              non-filing spouse
         Your gross wages, salary, tips, bonuses, overtime, and commissions
         (before all payroll deductions).                                                                $_________

         Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                                          $_________

        All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.
         Net income from operating a business, profession, Debtor I
                                                                                    Debtor 2
         or farm
         Gross receipts (before all deductions)
         Ordinary and necessary operating expenses

         Net monthly income from a business, profession, or farm $_ 0 $______                            $           0          $__________

         Net income from rental and other real property                Debtor I     Debtor 2
         Gross receipts (before all deductions)
         Ordinary and necessary operating expenses
                                                                                                Copy
         Net monthly income from rental or other real property                                           $_________             $__________
                                                                        $_0 $______
         Interest, dividends, and royalties                                                              $            0         $__________
Filed 10/03/19                                                                                                    Case 19-14190                                                                              Doc 1
   Debtor I          Kristy                                         Holly-ray                                                           Case number     (if k,n)___________________
                     First Name              Midd'e Name                        Last Name



                                                                                                                                             Column A              Column B
                                                                                                                                             Debtor I              Debtor 2 or
                                                                                                                                                                   non-filing spouse

    8. Unemployment compensation
         Do not enter the amount if you contend that the amount received was a benefit
         under the Social Security Act. Instead, list it here:                                ...............................4"
              Foryou   .................................... ..............................................



              For your spouse         ...................................................................        $_____________
    9.   Pension or retirement income. Do not include any amount received that was a
         benefit under the Social Security Act.                                                                                                  $         p
    10. income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.
                759 stipendfor adopteds                                                                                                      0
                                                                                                                                                 $_o                   $__________
                                                                            S i'ôrc                                                          0____                     $_____
          Total                                pa rate pages, if any.                                                                     + $_________             +

    11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                                    -
        column. Then add the total for Column A to the total for Column B.                                                                       $        p    +
                                                                                                                                                                                            Total current
                                                                                                                                                                                            monthly income

                    Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
                  Copy your total current monthly income from line 11. ................ ................................ ........ .......................... Copy line 11 here+         $             0

                  Multiply by 12 (the number of months in a year).                                                                                                                      x 12
                  The result is your annual income for this part of the form                                                                                                     12b.   $_0

    13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.                                                                    CALIFORNIA       I
         Fill in the number of people in your household.
                                                                                                             I    3               7
         Fill in the median family income for your state and size of household. ....... .......................... .................... ................................... ..... 13.   $       84003
         To find a list of applicable median income amounts, go online using the link specified in the separate
         instructions for this form. This list may also be available at the bankruptcy clerk's office.

    14. How do the lines compare?

             7 Line 1 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
         14aI0,
                Go to Part 3.

         140 Line 1 2b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                 Go to Part 3 and fill out Form 1 22A-2.

    I1iic            Sign Below

                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct,


                                                                                                                                      x__________
                                                           ________
                         Si nature of btor 1                                                                                          Signature of Debtor 2

                         Date                                                                                                         Date
                                  MM/DD               /YYYY                                                                                      MM/DD /YYYY

                         it you checked line I 4a, do NOT fill out or file Form 1 22A-2.

                         If you checked line 1 4b, fill out Form 1 22A-2 and file it with this form.
Filed 10/03/19                                                                      Case 19-14190                                                                                   Doc 1

  Debtor 1           Knsty                                                  Holly-ray
                     First Name                Midee Name                      Last Name

  Debtor 2
  (Spouse, it tiling) Fast Name                Middle Name                     Last Name


  United States Bankruptcy Court for the:    EASTERN         District of   CALiFORNIA
  Case number
   (If known)
                                                                                                                                                               U Check if this is an
                                                                                                                                                                   amended filing


    Official Form I O6Dec
    Declaration About an Individual Debtor's Schedules                                                                                                                      12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                      Sign Below



         Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          Li    No
          U     Yes. Name of                                                                               Attach Bankruptcy Petition Preparer's Notice. Declaration, and
                                                                                                           Signature (Official Form 119).




         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.




                 areofDei
                               Qc-           *
                                                                             X
                                                                                  Signature of 'Debtor 2



           Date
                  7  MI   DD
                               5  I   YYYY
                                                                                  Date
                                                                                           MM/ OD / YYYY




    Official Form 1 O6Dec                                             Declaration About an Individual Debtor's Schedules
